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                        EXHIBIT A
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                                                                  1 BALABAN & SPIELBERGER, LLP
                                                                    11999 San Vicente Blvd., Suite 345
                                                                  2 Los Angeles, CA 90049
                                                                    Tel: (424) 832-7677
                                                                  3 Fax: (424) 832-7702
                                                                    Daniel K. Balaban, State Bar No. 243652
                                                                  4        daniel@dbaslaw.com
                                                                    Andrew J. Spielberger, State Bar No. 120231
                                                                  5        andrew@dbaslaw.com
                                                                    Kahren Harutyunyan, State Bar No. 298449
                                                                  6        kahren@dbsalaw.com

                                                                  7
                                                                      Attorneys for Plaintiff, KAYLA DAVIS HORTON
                                                                  8

                                                                  9
                                                                                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                 10
                                                                                         IN AND FOR THE COUNTY OF LOS ANGELES
                                                                 11
BALABAN & SPIELBERGER LLP




                                                                 12
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                                                                    KAYLA DAVIS HORTON; The Estate of             Case No.
                                 LOS ANGELES, CA 90049




                                                                 13 Michael Andrew Horton, administered by
                                                                    Kayla Davis Horton,                           COMPLAINT FOR DAMAGES
                                                                 14
                                                                                  Plaintiff,                          1. STRICT LIABILITY - DESIGN
                                                                 15
                                                                                                                         DEFECT
                                                                           v.                                         2. STRICT LIABILITY – FAILURE TO
                                                                 16
                                                                                                                         WARN
                                                                 17 3M  COMPANY; E. I. DUPONT DE                      3. NEGLIGENCE
                                                                    NEMOURS & CO.; THE CHEMOURS
                                                                                                                      4. WRONGFUL DEATH
                                                                 18 COMPANY;    ARCHROMA U.S., INC.;
                                                                    ARKEMA INC.; AGC CHEMICALS                        5. SURVIVAL ACTION
                                                                                                                      6. LOSS OF CONSORTIUM
                                                                 19 AMERICAS,    INC.; DAIKIN AMERICA,
                                                                    INC.; DYNAX CORPORATION;
                                                                 20 JOHNSON    CONTROLS, INC.; TYCO
                                                                    FIRE PRODUCTS, L.P.; CHEMGUARD,               DEMAND FOR JURY TRIAL
                                                                 21 INC.; NATIONAL FOAM, INC.;
                                                                    CARRIER GLOBAL CORPORATION;
                                                                 22 KIDDE-FENWAL,      LLC; PERIMETER
                                                                    SOLUTIONS LP; FIRE SERVICE PLUS,
                                                                 23 INC.; BUCKEYE FIRE EQUIPMENT
                                                                    COMPANY; AMEREX CORPORATION;
                                                                 24 MINE  SAFETY APPLIANCE COMPANY,
                                                                    LLC; GLOBE MANUFACTURING
                                                                 25 COMPANY     LLC; LION GROUP, INC.; W.
                                                                    L. GORE & ASSOCIATES, INC.;
                                                                 26 TENCATE    PROTECTIVE FABRICS USA
                                                                    D/B/A SOUTHERN MILLS INC.; PBI
                                                                 27 PERFORMANCE       PRODUCTS, INC.;
                                                                    HONEYWELL SAFETY PRODUCTS
                                                                 28 USA, INC.; STEDFAST USA; L.N.
                                                                                                                  1
                                                                                                             COMPLAINT
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                                                                  1 CURTIS AND SONS; ALLSTAR FIRE
                                                                    EQUIPMENT CO.; MALLORY SAFETY
                                                                  2 AND SUPPLY LLC; MUNICIPAL
                                                                    EMERGENCY SERVICES INC., and
                                                                  3 DOES 1-100,

                                                                  4                 Defendants.
                                                                  5

                                                                  6

                                                                  7                                           COMPLAINT

                                                                  8         Plaintiffs KAYLA DAVIS HORTON and The Estate of Michael Andrew Horton,

                                                                  9 administered by Kayla Davis Horton by and through their attorneys of record, allege as follows:

                                                                 10                                         INTRODUCTION

                                                                 11         1.      Plaintiffs are KAYLA DAVIS HORTON, the widow of the former Assistant County
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                                                                 12 Fire Chief and the Fire Marshal for County of San Bernardino, Michael Andrew Horton (“MRS.
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                                                                 13 HORTON”), and The Estate of Michael Andrew Horton, administered by Kayla Davis Horton, (the

                                                                 14 “HORTON ESTATE”) (collectively “PLAINTIFFS”) Michael Andrew Horton worked in various

                                                                 15 fire stations, engine, truck, and specialized companies in the Riverside, San Bernardino and the

                                                                 16 surrounding Counties for decades starting in 1980. Mr. Horton had been in the fire service for 40

                                                                 17 years, before he was diagnosed with cancer around May of 2021. Mr. Horton started his firefighting

                                                                 18 career in 1980 with the Fire Department of Norco, California. He also worked for the Riverside

                                                                 19 County Fire Department, among other agencies, before becoming Deputy Fire Marshal in San

                                                                 20 Bernardino County in 2006 and the Fire Marshal for County of San Bernardino in 2013. From 1984

                                                                 21 until about 1989, Mr. Horton continued his service at the California Depart of Corrections Fire

                                                                 22 Department, in Chino, California. Mr. Horton continued serving in multiple departments, including

                                                                 23 at Agnew Fire Department, in San Jose, California, Crafton Fire Department, in Yucaipa, California

                                                                 24 and Temecula Fire Department, all the way until 2012. From 2012 until the time of his passing, Mr.

                                                                 25 Horton worked for the County of San Bernardino Fire Department, serving as the Assist Fire Chief

                                                                 26 and the County Fire Marshall.
                                                                 27 ///

                                                                 28 ///
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                                                                                                                COMPLAINT
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                                                                  1            2.       Throughout his decades of training, service, continued certification and re-

                                                                  2 certification and heroic actions, Mr. Horton routinely wore turnouts and used Class B firefighting

                                                                  3 foam. He was unaware that the turnouts he wore, and the Class B foam he used contained PFAS or

                                                                  4 PFAS-containing materials. (The deceased Michael Andrew Horton will hereinafter be referred to as

                                                                  5 “MR. HORTON” or “FIRE MARSHAL HORTON”)

                                                                  6            3.       PLAINTIFFS bring this action for monetary damages and appropriate equitable and

                                                                  7 injunctive relief for harm resulting from exposure to per- and polyfluoroalkyl substances (“PFAS”)

                                                                  8 that marketed, sold, supplied, distributed and/or contained in products were designed, manufactured,

                                                                  9 marketed, sold, supplied and/or distributed by each of the Defendants, individually or through their

                                                                 10 predecessors or subsidiaries.

                                                                 11            4.       PFAS are human-made chemicals consisting of a chain of carbon and fluorine atoms
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                                                                 12 used in manufactured products to, inter alia, resist and repel oil, stains, heat and water. PFAS include
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                                                                 13 “long-chain” PFAS made up of seven or more carbon atoms (“long-chain PFAS”) as well as “short-

                                                                 14 chain” PFAS made up of six or fewer carbon atoms (“short-chain PFAS”).

                                                                 15            5.       PFAS are known as “forever chemicals” because they are immune to degradation, bio-

                                                                 16 accumulate in individual organisms and humans, and increase in concentration up the food chain.

                                                                 17 PFAS exposure to humans can occur through inhalation, ingestion and dermal contact.1

                                                                 18            6.       PFAS have been associated with multiple and serious adverse health effects in humans

                                                                 19 including cancer, tumors, liver damage, immune system and endocrine disorders, high cholesterol,

                                                                 20 thyroid disease, ulcerative colitis, birth defects, decreased fertility, and pregnancy-induced

                                                                 21 hypertension. PFAS have also been found to concentrate in human blood, bones and organs and, most

                                                                 22 recently, to reduce the effectiveness of vaccines, a significant concern in light of COVID-19.

                                                                 23            7.       Unbeknownst to the brave firefighters throughout the United States, including in

                                                                 24 California, the Defendants have designed, manufactured, marketed, sold, supplied and/or distributed,

                                                                 25 or used PFAS and PFAS-containing materials in protective clothing specifically designed for

                                                                 26
                                                                 27
                                                                      1
                                                                          Suzanne E. Fenton, MS, PhD, PFAS Collection, Environmental Health Perspectives (February 22, 2019),
                                                                 28 https://ehp.niehs.nih.gov/curated-collections/pfas.
                                                                                                                               3
                                                                                                                           COMPLAINT
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                                                                  1 firefighters (“turnouts”) and in Class B firefighting foams (“Class B foam”).2

                                                                  2              8.       For decades, Defendants were aware of the toxic nature of PFAS and the harmful

                                                                  3 impact these substances have on human health. Yet, Defendants manufactured, designed, marketed,

                                                                  4 sold, supplied, or distributed PFAS and PFAS chemical feedstock,3 as well PFAS-containing turnouts

                                                                  5 and Class B foam, to firefighting training facilities and fire departments nationally, including in

                                                                  6 California and in Santa Clara County. Defendants did so, moreover, without ever informing

                                                                  7 firefighters or the public that their turnouts and Class B foams contained PFAS, and without warning

                                                                  8 firefighters or the public of the substantial and serious health injuries that can result from exposure

                                                                  9 to PFAS or PFAS-containing materials.

                                                                 10              9.       FIRE MARSHAL HORTON wore turnouts and used Class B foam in the usual and

                                                                 11 normal course of performing his firefighting duties and training for decades and was repeatedly
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                                                                 12 exposed to PFAS in his workplace through multiple departments. He did did not know and, in the
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                                                                 13 exercise of reasonable diligence, could not have known that these products contained PFAS or PFAS-

                                                                 14 containing materials. FIRE MARSHAL HORTON also did not know that PFAS penetrated into his

                                                                 15 body and his blood.

                                                                 16              10.      Meanwhile, at all relevant times and continuing to the present, Defendants have

                                                                 17 represented that their turnouts and Class B foams are safe.

                                                                 18              11.      MR. HORTON used the turnouts and Class B foam as they were intended and in a

                                                                 19 foreseeable manner which exposed him to PFAS in the course of his firefighting service. This

                                                                 20 repeated and extensive exposure to PFAS resulted in MR. HORTON being diagnosed with cancer on

                                                                 21 or around May 2021 and ultimately dying from cancer on November 2, 2022.

                                                                 22              12.      Defendants knowingly and willfully designed, manufactured, marketed, sold, and

                                                                 23 distributed chemicals and/or products containing PFAS for use within the State of California, and the

                                                                 24 Counties of Los Angeles, Riverside, and San Bernardino, when they knew or reasonably should have

                                                                 25 known that firefighters throughout California, including in the Counties of Los Angeles, Riverside,

                                                                 26
                                                                      Class B foams are synthetic “soap-like” foams that spread rapidly across the surface of a fuel or chemical fire to stop
                                                                      2
                                                                 27 the formation of flammable vapors. The most common Class B foam is aqueous film-forming foam (or “AFFF”).
                                                                      3
                                                                          Chemical feedstock refers to a chemical used to support a large-scale chemical reaction. The PFAS chemicals utilized
                                                                 28 to manufacture products containing PFAS are generally referred to herein as “chemical feedstock.”
                                                                                                                             4
                                                                                                                            COMPLAINT
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                                                                  1 and San Bernardino, including FIRE MARSHAL HORTON would repeatedly inhale, ingest and/or

                                                                  2 have dermal contact with these harmful compounds during firefighting training exercises and in

                                                                  3 firefighting emergencies, and that such exposure would threaten the health and welfare of firefighters,

                                                                  4 including the health and welfare of FIRE MARSHAL HORTON, when exposed to these dangerous

                                                                  5 and hazardous chemicals.

                                                                  6          13.      PLAINTIFFS bring this action against Defendants and seek damages, together with

                                                                  7 any appropriate injunctive or other equitable relief.

                                                                  8                                     PARTIES TO THE ACTION

                                                                  9          PLAINTIFFS

                                                                 10          A. KAYLA DAVIS HORTON; The Estate of Michael Andrew Horton, administered by

                                                                 11                Kayla Davis Horton
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                                                                 12          14.      Plaintiff MRS. HORTON is the widow of FIRE MARSHAL HORTON and the
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                                                                 13 administrator of the HORTON ESTATE. MR. and MRS. HORTON were legally married at the time

                                                                 14 of MR. HORTON’s death. MRS. HORTON is the only wrongful death heir of the deceased FIRE

                                                                 15 MARSHAL HORTON.

                                                                 16          15.      MRS. HORTON is also the only successor in interest to the HORTON ESTATE.

                                                                 17          DEFENDANTS

                                                                 18          16.      PLAINTIFFS are informed and believe, and thereupon allege that Defendant 3M

                                                                 19 Company (a/k/a Minnesota Mining and Manufacturing Company) (“3M”) is a Delaware corporation

                                                                 20 that does business throughout the United States, including conducting business in California, and

                                                                 21 within Los Angeles, Riverside and San Bernardino Counties in California. 3M has its principal place

                                                                 22 of business in St. Paul, Minnesota. 3M developed, manufactured, marketed, distributed, released,

                                                                 23 sold, and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B

                                                                 24 foams, including in California, and within Los Angeles, Riverside and San Bernardino Counties in

                                                                 25 California.

                                                                 26          17.      PLAINTIFFS are informed and believe, and thereupon allege that Defendant E. I. du
                                                                 27 Pont de Nemours & Co. (“DuPont”) is a Delaware corporation that does business throughout the

                                                                 28 United States, including conducting business in California, and within Los Angeles, Riverside and
                                                                                                                      5
                                                                                                                  COMPLAINT
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                                                                  1 San Bernardino Counties in California. DuPont has its principal place of business in Wilmington,

                                                                  2 Delaware. DuPont developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

                                                                  3 PFAS materials, and products containing PFAS in turnouts and/or Class B foams, including in

                                                                  4 California, and within Los Angeles, Riverside and San Bernardino Counties in California.

                                                                  5          18.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant The

                                                                  6 Chemours Company, L.L.C. (“Chemours”) is a Delaware corporation that does business throughout

                                                                  7 the United States, including conducting business in California, and within Los Angeles, Riverside

                                                                  8 and San Bernardino Counties in California. Chemours has its principal place of business in

                                                                  9 Wilmington, Delaware. Chemours developed, manufactured, marketed, distributed, released, sold,

                                                                 10 and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams,

                                                                 11 including in California, and within Los Angeles, Riverside and San Bernardino Counties in
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                                                                 12 California.
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                                                                 13          19.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant

                                                                 14 Archroma U.S., Inc. (“Archroma”) is a North Carolina corporation that does business throughout the

                                                                 15 United States, including conducting business in California, and within Los Angeles, Riverside and

                                                                 16 San Bernardino Counties in California. Archroma has its principal place of business in Charlotte,

                                                                 17 North Carolina. Archroma developed, manufactured, marketed, distributed, released, sold, and/or

                                                                 18 used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams,

                                                                 19 including in California, and within Los Angeles, Riverside and San Bernardino Counties in

                                                                 20 California.

                                                                 21          20.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant Arkema

                                                                 22 Inc. (“Arkema”) is a Pennsylvania corporation that does business throughout the United States,

                                                                 23 including conducting business in California, and within Los Angeles, Riverside and San Bernardino

                                                                 24 Counties in California. Arkema has its principal place of business in King of Prussia, Pennsylvania.

                                                                 25 Arkema developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS

                                                                 26 materials, and products containing PFAS in turnouts and/or Class B foams, including in California,
                                                                 27 and within Los Angeles, Riverside and San Bernardino Counties in California.

                                                                 28          21.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant AGC
                                                                                                                     6
                                                                                                                COMPLAINT
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                                                                  1 Chemicals Americas, Inc. (“AGC”) is a Delaware corporation that does business throughout the

                                                                  2 United States, including conducting business in California, and within Los Angeles, Riverside and

                                                                  3 San Bernardino Counties in California. AGC has its principal place of business in Exton,

                                                                  4 Pennsylvania. AGC developed, manufactured, marketed, distributed, released, sold, and/or used

                                                                  5 PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams, including

                                                                  6 in California, and within Los Angeles, Riverside and San Bernardino Counties in California.

                                                                  7          22.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant Daikin

                                                                  8 America, Inc. (“Daikin America”) is a Delaware corporation that does business throughout the United

                                                                  9 States, including conducting business in California, and within Los Angeles, Riverside and San

                                                                 10 Bernardino Counties in California. Daikin America has its principal place of business in Orangeburg,

                                                                 11 New York. Daikin America developed, manufactured, marketed, distributed, released, sold, and/or
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                                                                 12 used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams,
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                                                                 13 including in California, and within Los Angeles, Riverside and San Bernardino Counties in

                                                                 14 California.

                                                                 15          23.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant Dynax

                                                                 16 Corporation (“Dynax”) is a New York corporation that does business throughout the United States,

                                                                 17 including conducting business in California, and within Los Angeles, Riverside and San Bernardino

                                                                 18 Counties in California. Dynax has its principal place of business in Pound Ridge, New York. Dynax

                                                                 19 developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials,

                                                                 20 and products containing PFAS in turnouts and/or Class B foams, including in California, and within

                                                                 21 Los Angeles, Riverside and San Bernardino Counties in California.

                                                                 22          24.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant Johnson

                                                                 23 Controls, Inc. (“Johnson Controls”) is a Delaware corporation that does business throughout the

                                                                 24 United States, including conducting business in California, and within Los Angeles, Riverside and

                                                                 25 San Bernardino Counties in California. Johnson Controls has its principal place of business in

                                                                 26 Milwaukee, Wisconsin. Johnson Controls is the parent of Defendants Tyco Fire Products, LP and
                                                                 27 Chemguard, Inc. Johnson Controls developed, manufactured, marketed, distributed, released, sold,

                                                                 28 and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams,
                                                                                                                     7
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                                                                  1 including in California, and within Los Angeles, Riverside and San Bernardino Counties in

                                                                  2 California.

                                                                  3          25.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant Tyco

                                                                  4 Fire Products, L.P. (“Tyco”) is a Delaware corporation that does business throughout the United

                                                                  5 States, including conducting business in California, and within Los Angeles, Riverside and San

                                                                  6 Bernardino Counties in California. Tyco has its principal place of business in Exeter, New

                                                                  7 Hampshire. Tyco developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

                                                                  8 PFAS materials, and products containing PFAS in turnouts and/or Class B foams, including in

                                                                  9 California, and within Los Angeles, Riverside and San Bernardino Counties in California.

                                                                 10          26.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant

                                                                 11 Chemguard, Inc. (“Chemguard”) is a Wisconsin corporation that does business throughout the United
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                                                                 12 States, including conducting business in California, and within Los Angeles, Riverside and San
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                                                                 13 Bernardino Counties in California. Chemguard has its principal place of business in Marinette,

                                                                 14 Wisconsin. Chemguard developed, manufactured, marketed, distributed, released, sold, and/or used

                                                                 15 PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams, including

                                                                 16 in California, and within Los Angeles, Riverside and San Bernardino Counties in California.

                                                                 17          27.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant National

                                                                 18 Foam, Inc., (“National Foam”) is a Pennsylvania corporation that does business throughout the United

                                                                 19 States, including conducting business in California, and within Los Angeles, Riverside and San

                                                                 20 Bernardino Counties in California. National Foam has its principal place of business in West Chester,

                                                                 21 Pennsylvania. National Foam developed, manufactured, marketed, distributed, released, sold, and/or

                                                                 22 used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams,

                                                                 23 including in California, and within Los Angeles, Riverside and San Bernardino Counties in

                                                                 24 California.

                                                                 25          28.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant Carrier

                                                                 26 Global Corporation (“Carrier”) is a Delaware corporation that does business throughout the United
                                                                 27 States, including conducting business in California, and within Los Angeles, Riverside and San

                                                                 28 Bernardino Counties in California. Carrier has its principal place of business in Palm Beach Gardens,
                                                                                                                      8
                                                                                                                 COMPLAINT
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                                                                   1 Florida. Carrier is the parent of Defendant Kidde-Fenwal, Inc. Carrier developed, manufactured,

                                                                   2 marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and products containing

                                                                   3 PFAS in turnouts and/or Class B foams, including in California, and within Los Angeles, Riverside

                                                                   4 and San Bernardino Counties in California.

                                                                   5          29.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant Kidde-

                                                                   6 Fenwal, Inc. (“Kidde-Fenwal”) is a Delaware corporation that does business throughout the United

                                                                   7 States, including conducting business in California, and within Los Angeles, Riverside and San

                                                                   8 Bernardino Counties in California. Kidde-Fenwal has its principal place of business in Ashland,

                                                                   9 Massachusetts. Kidde-Fenwal developed, manufactured, marketed, distributed, released, sold, and/or

                                                                  10 used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams,

                                                                  11 including in California, and within Los Angeles, Riverside and San Bernardino Counties in
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                                                                  12 California.
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                                                                  13          30.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant

                                                                  14 Perimeter Solutions LP, (“Perimeter Solutions”) is a Delaware corporation that does business

                                                                  15 throughout the United States, including conducting business in California, and within Los Angeles,

                                                                  16 Riverside and San Bernardino Counties in California. Perimeter Solutions has a principal place of

                                                                  17 business in Rancho Cucamonga, California. Perimeter developed, manufactured, marketed,

                                                                  18 distributed, released, sold, and/or used PFAS, PFAS materials, and products containing PFAS in

                                                                  19 turnouts and/or Class B foams, including in California, and within Los Angeles, Riverside and San

                                                                  20 Bernardino Counties in California.

                                                                  21          31.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant Fire

                                                                  22 Service Plus, Inc. (“Fire Service Plus”) is a Georgia corporation that does business throughout the

                                                                  23 United States, including conducting business in California, and within Los Angeles, Riverside and

                                                                  24 San Bernardino Counties in California. Fire Service Plus has its principal place of business in Simi

                                                                  25 Valley, California. Fire Service Plus developed, manufactured, marketed, distributed, released, sold,

                                                                  26 and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams,
                                                                  27 including in California, and within Los Angeles, Riverside and San Bernardino Counties in

                                                                  28 California.
                                                                                                                       9
                                                                                                                  COMPLAINT
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                                                                   1         32.     PLAINTIFFS are informed and believe, and thereupon allege that Defendant Buckeye

                                                                   2 Fire Equipment Company (“Buckeye”) is a North Carolina corporation that does business throughout

                                                                   3 the United States, including conducting business in California, and within Los Angeles, Riverside

                                                                   4 and San Bernardino Counties in California. Buckeye has its principal place of business in Kings

                                                                   5 Mountain, North Carolina. Buckeye developed, manufactured, marketed, distributed, released, sold,

                                                                   6 and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams,

                                                                   7 including in California, and within Los Angeles, Riverside and San Bernardino Counties in

                                                                   8 California.

                                                                   9         33.     PLAINTIFFS are informed and believe, and thereupon allege that Defendant Amerex

                                                                  10 Corporation, also known as Alabama Amerex Corporation, (“Amerex”) is an Alabama corporation

                                                                  11 that does business throughout the United States, including conducting business in California, and
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                                                                  12 within Los Angeles, Riverside and San Bernardino Counties in California. Amerex has its principal
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                                                                  13 place of business in Trussville, Alabama. Amerex developed, manufactured, marketed, distributed,

                                                                  14 released, sold, and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or

                                                                  15 Class B foams, including in California, and within Los Angeles, Riverside and San Bernardino

                                                                  16 Counties in California.

                                                                  17         34.     PLAINTIFFS are informed and believe, and thereupon allege that Defendant Mine

                                                                  18 Safety Appliance Company, LLC (“MSA/Globe”) is a Pennsylvania corporation that does business

                                                                  19 throughout the United States, including conducting business in California, and within Los Angeles,

                                                                  20 Riverside and San Bernardino Counties in California. MSA has its principal place of business in

                                                                  21 Cranberry Township, Pennsylvania. MSA acquired Globe Holding Company, LLC and its

                                                                  22 subsidiaries (collectively, “MSA/Globe”) in 2017 and continues to do business under the Globe name.

                                                                  23 MSA developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS

                                                                  24 materials, and products containing PFAS in turnouts and/or Class B foams, including in California,

                                                                  25 and within Los Angeles, Riverside and San Bernardino Counties in California.

                                                                  26         35.     PLAINTIFFS are informed and believe, and thereupon allege that Defendant Globe
                                                                  27 Manufacturing Company LLC (“Globe”) is a New Hampshire corporation that does business

                                                                  28 throughout the United States, including conducting business in California, and within Los Angeles,
                                                                                                                     10
                                                                                                                 COMPLAINT
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                                                                   1 Riverside and San Bernardino Counties in California. Globe has its principal place of business in

                                                                   2 Pittsfield, New Hampshire. Globe developed, manufactured, marketed, distributed, released, sold,

                                                                   3 and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams,

                                                                   4 including in California, and within Los Angeles, Riverside and San Bernardino Counties in

                                                                   5 California. Defendant Mine Safety Appliance Company acquired Globe Holding Company, LLC and

                                                                   6 its subsidiaries (collectively, “MSA/Globe”) in 2017 and continues to do business under the Globe

                                                                   7 name.

                                                                   8          36.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant Lion

                                                                   9 Group, Inc., (“Lion”) is an Ohio corporation that does business throughout the United States,

                                                                  10 including conducting business in California, and within Los Angeles, Riverside and San Bernardino

                                                                  11 Counties in California. Lion has its principal place of business in Dayton, Ohio. Lion developed,
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                                                                  12 manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and products
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                                                                  13 containing PFAS in turnouts and/or Class B foams, including in California, and within Los Angeles,

                                                                  14 Riverside and San Bernardino Counties in California.

                                                                  15          37.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant W. L.

                                                                  16 Gore & Associates, Inc., (“Gore”) is a Delaware corporation that does business throughout the United

                                                                  17 States, including conducting business in California, and within Los Angeles, Riverside and San

                                                                  18 Bernardino Counties in California. Gore has its principal place of business in Newark, Delaware.

                                                                  19 Gore developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS

                                                                  20 materials, and products containing PFAS in turnouts and/or Class B foams, including in California,

                                                                  21 and within Los Angeles, Riverside and San Bernardino Counties in California.

                                                                  22          38.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant TenCate

                                                                  23 Protective Fabrics USA d/b/a Southern Mills, Inc. (“Tencate”) is a Georgia corporation that does

                                                                  24 business throughout the United States, including conducting business in California, and within Los

                                                                  25 Angeles, Riverside and San Bernardino Counties in California. Tencate has its principal place of

                                                                  26 business in Senoia, Georgia. Tencate developed, manufactured, marketed, distributed, released, sold,
                                                                  27 and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams,

                                                                  28 including in California, and within Los Angeles, Riverside and San Bernardino Counties in
                                                                                                                     11
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                                                                   1 California.

                                                                   2          39.     PLAINTIFFS are informed and believe, and thereupon allege that Defendant PBI

                                                                   3 Performance Products, Inc., (“PBI”) is a Delaware corporation that does business throughout the

                                                                   4 United States, including conducting business in California, and within Los Angeles, Riverside and

                                                                   5 San Bernardino Counties in California. PBI has its principal place of business in Charlotte, North

                                                                   6 Carolina. PBI developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

                                                                   7 PFAS materials, and products containing PFAS in turnouts and/or Class B foams, including in

                                                                   8 California, and within Los Angeles, Riverside and San Bernardino Counties in California.

                                                                   9          40.     PLAINTIFFS are informed and believe, and thereupon allege that Defendant

                                                                  10 Honeywell Safety Products USA, Inc. (“Honeywell”) is a Delaware corporation that does business

                                                                  11 throughout the United States, including conducting business in California, and within Los Angeles,
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                                                                  12 Riverside and San Bernardino Counties in California. Honeywell has its principal place of business
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                                                                  13 in Charlotte, North Carolina. Honeywell developed, manufactured, marketed, distributed, released,

                                                                  14 sold, and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B

                                                                  15 foams, including in California, and within Los Angeles, Riverside and San Bernardino Counties in

                                                                  16 California.

                                                                  17          41.     PLAINTIFFS are informed and believe, and thereupon allege that Defendant StedFast

                                                                  18 USA (“StedFast”) is a Delaware corporation that does business throughout the United States,

                                                                  19 including conducting business in California, and within Los Angeles, Riverside and San Bernardino

                                                                  20 Counties in California. StedFast has its principal place of business in Piney Flats, Tennessee. StedFast

                                                                  21 developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials,

                                                                  22 and products containing PFAS in turnouts and/or Class B foams, including in California, and within

                                                                  23 Los Angeles, Riverside and San Bernardino Counties in California.

                                                                  24          42.     PLAINTIFFS are informed and believe, and thereupon allege that Defendant L.N.

                                                                  25 Curtis and Sons (“LN Curtis”) is a California corporation that does business in California, and within

                                                                  26 Los Angeles, Riverside and San Bernardino Counties in California. LN Curtis has its principal place
                                                                  27 of business is Walnut Creek, California. LN Curtis developed, manufactured, marketed, distributed,

                                                                  28 released, sold, and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or
                                                                                                                       12
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                                                                   1 Class B foams, including in California, and within Los Angeles, Riverside and San Bernardino

                                                                   2 Counties in California.

                                                                   3          43.    PLAINTIFFS are informed and believe, and thereupon allege that Defendant AllStar

                                                                   4 Fire Equipment Co. (“AllStar”) is a California corporation that does business in California, and within

                                                                   5 Los Angeles, Riverside and San Bernardino Counties in California. AllStar has its principal place of

                                                                   6 business in Arcadia, California. AllStar developed, manufactured, marketed, distributed, released,

                                                                   7 sold, and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B

                                                                   8 foams, including in California, and within Los Angeles, Riverside and San Bernardino Counties in

                                                                   9 California.

                                                                  10          44.    PLAINTIFFS are informed and believe, and thereupon allege that Mallory Safety and

                                                                  11 Supply LLC (“Mallory”) is a California corporation that does business throughout the United States,
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                                                                  12 including conducting business in California, and within Los Angeles, Riverside and San Bernardino
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                                                                  13 Counties in California. Mallory has its principal place of business in Longview, Washington. Mallory

                                                                  14 developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials,

                                                                  15 and products containing PFAS in turnouts and/or Class B foams, including in California, and within

                                                                  16 Los Angeles, Riverside and San Bernardino Counties in California.

                                                                  17          45.    PLAINTIFFS are informed and believe, and thereupon allege that Municipal

                                                                  18 Emergency Services, Inc. (“MES”) is a Nevada corporation that does business throughout the United

                                                                  19 States, including conducting business in California, and within Los Angeles, Riverside and San

                                                                  20 Bernardino Counties in California. MES has its principal place of business in Santa Fe Springs,

                                                                  21 California. MES developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,

                                                                  22 PFAS materials, and products containing PFAS in turnouts and/or Class B foams, including in

                                                                  23 California, and within Los Angeles, Riverside and San Bernardino Counties in California.

                                                                  24          46.    The true names and/or capacities, whether individual, corporate, associate or otherwise of

                                                                  25 defendants DOES 1 - 100, inclusive, and each of them, are unknown to PLAINTIFFS, who therefore sue

                                                                  26 said defendants by such fictitious names. PLAINTIFFS are informed and believe, and thereupon allege,
                                                                  27 that each defendant fictitiously named herein as a DOE was legally responsible, negligently or in some

                                                                  28 other actionable manner, for the events and happenings hereinafter referred to and proximately thereby
                                                                                                                        13
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                                                                   1 caused the injuries, emotional pain and suffering, as well as economic damages to PLAINTIFFS as

                                                                   2 hereinafter alleged. PLAINTIFFS will ask leave of court to amend the complaint to insert the true names

                                                                   3 and/or capacities of such fictitiously named defendants when the same have been ascertained.

                                                                   4          47.      PLAINTIFFS are currently unaware of the true names and capacities of Defendants

                                                                   5 named herein as DOES 1-100, inclusive, and PLAINTIFFS therefore sue those Defendants by

                                                                   6 fictitious names pursuant to California Code of Civil Procedure § 474. PLAINTIFFS will amend this

                                                                   7 complaint to state the true names and capacities of those Defendants sued herein as DOES when

                                                                   8 ascertained. PLAINTIFFS allege that each fictitiously named Defendant is in some manner

                                                                   9 responsible for the acts alleged herein and that they proximately caused the injuries to PLAINTIFFS

                                                                  10 as alleged herein.

                                                                  11          48.      PLAINTIFFS are informed and believe, and thereupon allege, that at all times
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                                                                  12 mentioned herein, DEFENDANTS, and each of them, including DOES 1 - 100, were the agents,
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                                                                  13 servants, employees and/or joint venturers of their co-defendants and were, as such, acting within the

                                                                  14 course, scope and authority of said agency, employment and/or venture and that each and every

                                                                  15 DEFENDANTS, as aforesaid, when acting as a principal, was negligent in the selection and hiring of

                                                                  16 each and every other DEFENDANTS as an agent, employee and/or joint venturers were involved in

                                                                  17 the design, development, manufacture, testing, packaging, promotion, marketing, advertising,

                                                                  18 distribution, labeling, and/or sale of PFAS, PFAS materials, and products containing PFAS in the

                                                                  19 turnouts and/or Class B foams that firefighters, including FIRE MARSHAL HORTON, used, as

                                                                  20 alleged herein.

                                                                  21          49.      PLAINTIFFS allege that each named Defendant is in some manner responsible for the

                                                                  22 acts alleged herein and that they proximately caused the injuries to PLAINTIFFS, as alleged herein.

                                                                  23          50.      PLAINTIFFS allege that each named Defendant derived substantial revenue from the

                                                                  24 PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams that

                                                                  25 Defendants designed, developed, manufactured, tested, packaged, promoted, marketed, advertised,

                                                                  26 distributed, labeled and/or sold within California, , and within Los Angeles, Riverside and San
                                                                  27 Bernardino Counties in California, and that were used by firefighter within Los Angeles, Riverside

                                                                  28 and San Bernardino Counties in California, including by FIRE MARSHAL HORTON, throughout
                                                                                                                       14
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                                                                   1 his decorated career.

                                                                   2            51.    Defendants expected or should have expected their acts to have consequences within

                                                                   3 the State of California, and derived substantial revenue from interstate commerce.

                                                                   4            52.    Defendants purposefully availed themselves of the privilege of conducting activities

                                                                   5 within the State of California, thus invoking the benefits and protections of its laws.

                                                                   6                                       JURISDICTION AND VENUE

                                                                   7            53.    This Court has jurisdiction over this action under the California Code of Civil

                                                                   8 Procedure § 410.10 and Article VI, § 10 of the California Constitution. The injuries and damages

                                                                   9 alleged herein are in an amount within the jurisdiction of this Court.

                                                                  10            54.    The California Superior Court has jurisdiction over all DEFENDANTS, including DOES

                                                                  11 1-100, because, based on information and belief, each is either a corporation and/or entity and/or person
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                                                                  12 organized under the laws of or having its principal place of business in the State of California, a foreign
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                                                                  13 corporation or association authorized to do business in California and registered with the California

                                                                  14 Secretary of State, or that has sufficient minimum contacts in California, is a citizen of California, or

                                                                  15 otherwise has intentionally availed itself of the California market so as to render the exercise of

                                                                  16 jurisdiction over it by the California courts consistent with traditional notions of fair play and substantial

                                                                  17 justice.

                                                                  18            55.    Further, DEFENDANTS, including DOES 1-100, have each purposefully availed

                                                                  19 themselves of the benefits and protections of the laws within the State of California. DEFENDANTS,

                                                                  20 including DOES 1-100, conduct substantial business in California and have had sufficient contacts

                                                                  21 with California such that the exercise of jurisdiction would be consistent with the traditional notions

                                                                  22 of fair play and substantial justice.

                                                                  23            56.    FIRE MARSHAL HORTON exposure and PLAINTIFFS’ injuries, resulting from the

                                                                  24 acts of Defendants alleged herein, throughout Los Angeles, and/or Riverside and/or San Bernardino

                                                                  25 Counties, in California. Venue is also proper is this Court under California Code of Civil Procedure

                                                                  26 § 395(a), because Defendant AllStar is a California corporation, with its principal place of business
                                                                  27 in Arcadia, California, within the County of Los Angeles.

                                                                  28 ///
                                                                                                                           15
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                                                                   1                                   SUBSTANTIVE ALLEGATIONS

                                                                   2          A. FIRE MARSHAL HORTON’s Exposure to PFAS-Containing Products

                                                                   3          57.     FIRE MARSHAL HORTON has served the communities in Los Angeles, Riverside

                                                                   4 and San Bernardino Counties firefighter, engineer, lieutenant, captain, battalion chief, assistant chief,

                                                                   5 deputy chief, chief and fire marshal. FIRE MARSHAL HORTON worked in various fire stations,

                                                                   6 engines, and specialized companies in some of the largest counties in the United States, both by their

                                                                   7 size and population.

                                                                   8          58.     As a first responder to fire, hazardous materials incidents, and other emergency and

                                                                   9 medical calls, FIRE MARSHAL HORTON risked his health and safety on daily basis. FIRE

                                                                  10 MARSHAL HORTON not only saved lives and homes, he provided emergency services and medical

                                                                  11 care, performed rescue operations, and offered support to people in life-threatening circumstances.
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                                                                  12 For his protection, FIRE MARSHAL HORTON wore turnouts and received extensive and ongoing
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                                                                  13 training in fire suppression (including the preparation and use of Class B foam), fire prevention,

                                                                  14 rescue, and emergency medical care action to protect and/or minimize the loss of life, property, and

                                                                  15 damage to the environment.

                                                                  16          59.     For decades, Defendants, either individually or through their predecessors or

                                                                  17 subsidiaries, have manufactured, designed, sold, supplied, and distributed chemical feedstock and/or

                                                                  18 turnouts and Class B foam containing PFAS to firefighting training facilities and fire departments

                                                                  19 globally, including within the State of California and the Cities of Riverside and San Bernardino and

                                                                  20 neighboring communities in California.

                                                                  21          60.     With over 5,000 individual chemicals, PFAS is a large and ever-growing category of

                                                                  22 human-made chemicals, consisting of a nearly indestructible chain of carbon and fluorine atoms that

                                                                  23 are widely used in products to, inter alia, resist and repel oil, heat and water, and have been found to

                                                                  24 have negative health effects. As detailed below, these toxic chemicals are present in firefighter

                                                                  25 turnouts and Class B foam.

                                                                  26          (1) PFAS-Containing Turnout Gear
                                                                  27          61.     During firefighting training and when responding to fires and performing fire

                                                                  28 extinguishment, firefighters wear turnouts that are intended to provide a degree of thermal, chemical,
                                                                                                                        16
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                                                                   1 and biological protection for a firefighter. Turnout gear components include a helmet, hood, jacket,

                                                                   2 pants, boots, and gloves. Each component is made of an outer layer, as well as several inner layers

                                                                   3 that include a moisture barrier and thermal liner which are meant to protect the firefighter from

                                                                   4 ambient heat.4

                                                                   5           62.      PFAS chemicals are used in turnout gear to impart heat, water, and stain resistance to

                                                                   6 the outer shell and moisture barrier of turnout gear.

                                                                   7           63.      A June 2020 study of turnout gear by researchers at the University of Notre Dame

                                                                   8 analyzed 30 new and used turnout jackets and pants originally marketed, distributed and sold in 2008,

                                                                   9 2014, and 2017, by six turnout gear makers, including Defendants MSA/Globe, Lion and Honeywell

                                                                  10 and found high levels of PFAS in turnout gear worn, used, or handled by firefighters, including FIRE

                                                                  11 MARSHAL HORTON.5
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                                                                  12           64.      When exposed to heat, PFAS chemicals in the turnouts off-gas, break down, and
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                                                                  13 degrade into highly mobile and toxic particles and dust,6 exposing firefighters to PFAS chemicals,

                                                                  14 particles and dust, including through skin contact/absorption, ingestion (e.g., hand-to-mouth contact)

                                                                  15 and/or inhalation.7 Further firefighter exposure to these highly mobile and toxic materials occurs

                                                                  16 through normal workplace activities, because particles or dust from their turnouts spread to fire

                                                                  17 vehicles and fire stations, as well as firefighters’ cars and homes.8

                                                                  18           65.      Such workplace exposure to PFAS or PFAS-containing materials has been found to

                                                                  19 be toxic to humans. As far back as a July 31, 1980 internal memo, DuPont officials described

                                                                  20 measures that were needed to prevent workplace exposure to PFOA, which they knew could permeate

                                                                  21 all protective materials, and noted that PFOA’s toxicity varied depending on the exposure pathway,

                                                                  22 acknowledging that ingestion was “slightly toxic,” dermal contact was “slightly to moderately toxic”

                                                                  23

                                                                  24   4
                                                                          What Materials Go Into Making Turnout Gear?, Globe MSA Safety Website, (last visited February 26, 2021),
                                                                       https://globe.msasafety.com/selecting-your-gear/materials.
                                                                  25   5
                                                                         Graham Peaslee et al., Another Pathway for Firefighter Exposure to Per- and Polyfluoroalkyl Substances: Firefighter
                                                                       Textiles, Environmental Science & Technology Letters 2020, 7, 8, 594-599 (Ecotoxicology and Public Health) (June 23,
                                                                  26   2020) (hereinafter, “the Notre Dame Turnout Study”).
                                                                       6
                                                                         A.S. Young et al., Per- and Polyfluoroalkyl Substances (PFAS) and Total Fluorine in Fire Station Dust, J. Expo. Sci.
                                                                  27   Environ. Epidemiology (2021), https://doi.org/10.1038/s41370-021-00288-7.
                                                                       7
                                                                         Id.
                                                                  28   8
                                                                         Id.
                                                                                                                               17
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                                                                   1 and inhalation was “highly toxic.”9 The memo concluded “continued exposure is not tolerable.”10

                                                                   2              66.      As alleged herein, FIRE MARSHAL HORTON wore turnouts in the ordinary course

                                                                   3 of performing his duties, as the turnouts were intended to be used and in a foreseeable manner, which

                                                                   4 exposed him to significant levels of PFAS for years.

                                                                   5              67.      MR. HORTON did not know, and in the exercise of reasonable diligence could not

                                                                   6 have known, that the turnouts he wore or used in the course of performing his duties contained PFAS

                                                                   7 or PFAS-containing materials, and similarly did not know and could not have known that he routinely

                                                                   8 suffered exposure to PFAS or PFAS-containing materials in the turnouts they wore or used in

                                                                   9 performing their duties. The turnout gear MR. HORTON wore or used did not contain labelling

                                                                  10 information saying that the gear contained PFAS, and similarly did not warn MR. HORTON of the

                                                                  11 health risks associated with exposure to PFAS.
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                                                                  12              (2) PFAS-Containing Class B Foam
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                                                                  13              68.      Class B foam is one of the primary tools used by firefighters for fire suppression and

                                                                  14 is particularly effective for extinguishing fires involving oil and/or chemicals common at

                                                                  15 transportation accidents, aircraft accidents, chemical spills, and Hazmat incidents. Class B foam is

                                                                  16 also used in structural or other types of non-chemical fires when water cannot penetrate deeply

                                                                  17 enough to ensure that unseen fire is extinguished. The most common Class B foam is aqueous film-

                                                                  18 forming foam (“AFFF”). AFFF and other Class B foams contain PFAS.

                                                                  19              69.      Class B foam concentrate is typically sold in five-gallon containers. To use Class B

                                                                  20 foam, a Class B foam concentrate must first be mixed with water. To mix the foam concentrate and

                                                                  21 water in an engine that is not pre-plumbed, an eductor must be placed in the foam concentrate to draw

                                                                  22 up the concentrate and mix it with water to create a thick, white, foamy substance.

                                                                  23              70.      The process of mixing Class B foam, plumbing and preparing it, and cleaning the

                                                                  24 equipment after foam use causes exposure to PFAS through skin contact, inhalation, or ingestion

                                                                  25 (e.g., hand-to-mouth contact). The Class B foam containers used by MR. HORTON and the fire

                                                                  26 departments to mix and prepare the Class B foam for use did not say that the foam contains PFAS,
                                                                  27
                                                                       9
                                                                           Robert Bilott, Exposure (2019), pg. 174.
                                                                  28   10
                                                                            Id. at pg. 175.
                                                                                                                            18
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                                                                   1 and did not warn MR. HORTON of the serious health risks associated with exposure to PFAS.

                                                                   2           71.    Class B foam is used in fire extinguishment in a manner typical of routine methods of

                                                                   3 fire extinguishment—by being sprayed through a fire hose.

                                                                   4           72.    The techniques used for “laying a blanket” of Class B foam in fire extinguishment

                                                                   5 include: banking the foam off a wall or vertical surface to agitate the foam before it covers the fire;

                                                                   6 or applying it to the ground surface where the fire is burning. In structure fires, it can also be necessary

                                                                   7 to spray the ceilings, walls and floors. Reapplication of foam is often necessary because the foam

                                                                   8 blanket will break down over time.

                                                                   9           73.    These techniques are used routinely in firefighting training as well as in real-world

                                                                  10 fire extinguishment, and result in firefighters being sprayed or entirely soaked with Class B foam,

                                                                  11 walking in and through Class B foam (which can reach thigh- or even waist-high), or kneeling in
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                                                                  12 Class B foam during use – all as depicted in the exemplar photographs below. As a result, the
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                                                                  13 techniques cause exposure to PFAS through skin contact, inhalation, or ingestion (e.g., hand-to-

                                                                  14 mouth contact).

                                                                  15           74.    As alleged herein, MR. HORTON used Class B foam in the ordinary course of

                                                                  16 performing his duties as foam was intended to be used and in a foreseeable manner which exposed

                                                                  17 him to significant levels of PFAS.

                                                                  18           75.    MR. HORTON did not know, and in the exercise of reasonable diligence, could not

                                                                  19 have known that the Class B foam they used in the course of performing their duties contained PFAS

                                                                  20 or PFAS-containing materials, and similarly did not know and could not have known that they

                                                                  21 routinely suffered exposure to PFAS or PFAS-containing materials in the Class B foam they used in

                                                                  22 performing their duties.

                                                                  23           76.    MR. HORTON’s exposures to PFAS or PFAS-containing materials resulted in him

                                                                  24 getting cancer, suffering through his cancer treatment and ultimately dying due to complications from

                                                                  25 cancer.

                                                                  26 ///
                                                                  27 ///

                                                                  28 ///
                                                                                                                         19
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                                                                   1           B. The Chemical Structure of PFAS Makes Them Harmful to Human Health

                                                                   2           77.      PFAS are known as “forever chemicals” because they are immune to degradation, bio-

                                                                   3 accumulate in individual organisms and humans, and increase in concentration up the food chain.11

                                                                   4 Indeed, scientists are unable to estimate an environmental half-life (i.e. the time it takes for 50% of

                                                                   5 the chemical to disappear) for PFAS.12 Additionally, some PFAS chemicals (known as “precursors”)

                                                                   6 degrade into different long-chain PFAS chemicals.13

                                                                   7           78.      PFAS are nearly indestructible and are highly transportable.14 PFAS exposure to

                                                                   8 humans can occur through inhalation, ingestion, or dermal contact.15

                                                                   9           79.      PFAS chemicals include “older” long-chain PFAS like PFOA, PFOS, and PFNA that

                                                                  10 have seven or more carbon atoms, and “newer” short-chain PFAS, like PFBA, PFBS, PFHxA, and

                                                                  11 PFHxS. The PFAS chemical industry has repeatedly asserted that short-chain PFAS are safer and
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                                                                  12 bio-degrade more easily than long-chain PFAS. However, short-chain PFAS are molecularly similar
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                                                                  13 to long-chain PFAS, and recent scientific research shows that short-chain PFAS are in fact extremely

                                                                  14 persistent, highly mobile and transportable, almost impossible to remove from water, bio-accumulate

                                                                  15 in humans and the environment, and show similar toxicity as long-chain PFAS.16 For example, short-

                                                                  16 chain PFBA (with only four carbon molecules) which was created by defendant 3M and reportedly

                                                                  17 has a shorter half-life than other PFAS, recently has been found to accumulate in the lungs and, in

                                                                  18

                                                                  19

                                                                  20   11
                                                                           Perfluoroalkyl and Polyfluoroalkyl Substances (PFAS), National Institute of Environmental Health Sciences (last
                                                                       visited February 26, 2021), https://www.niehs.nih.gov/health/topics/agents/pfc/index.cfm.
                                                                  21   12
                                                                          Id.
                                                                       13
                                                                          Id. at fn. 8; Monica Amarelo, Study: Almost All Fluorine Detected in Fire Stations’ Dust Is From Unknown “Forever
                                                                  22   Chemicals,” Environmental Working Group (February 5, 2021), https://www.ewg.org/release/study-almost-all-fire-
                                                                       stations-dust-unknown-forever-chemicals.
                                                                  23   14
                                                                          Toxicological Profile for Perfluoroalkyls, see Relevance to Public Health, Agency for Toxic Substances & Disease
                                                                       Registry, (last visited February 26, 2021), https://www.atsdr.cdc.gov/toxprofiles/tp.asp?id=1117&tid=237.
                                                                  24   15
                                                                          Id. at Potential for Human Exposure, pg. 535.
                                                                       16
                                                                  25       Cheryl Hogue, Short-chain and long-chain PFAS show similar toxicity, US National Toxicology Program says,
                                                                       Chemical and Engineering News, (August 24, 2019), https://cen.acs.org/environment/persistent-pollutants/Short-chain-
                                                                  26   long-chain-PFAS/97/i33; David Andrews, FDA Studies: ‘Short-Chain’ PFAS Chemicals More Toxic Than Previously
                                                                       Thought, Environmental Working Group (March 9, 2020), https://tinyurl.com/y3lbq7by; Stephan Brendel et al., Short-
                                                                       chain Perfluoroalkyl Acids: Environmental Concerns and A Regulatory Strategy Under REACH, Environmental Sciences
                                                                  27   Europe, Vol. 30, 1 (2018), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5834591/; Tom Neltner, The Elephant in the
                                                                       Room: Potential Biopersistence of Short-Chain PFAS, Environmental Defense Fund, (February 20, 2019),
                                                                  28   http://blogs.edf.org/health/2019/02/20/potential-biopersistence-short-chain-pfas/.
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                                                                   1 turn, increase the severity of COVID-19 in patients with elevated levels of PFBA,17 among other

                                                                   2 health concerns. Short-chain PFAS also have lower technical performance and may therefore be used

                                                                   3 at higher quantities cancelling out any supposed benefits of lower bioaccumulation potential.18

                                                                   4             80.      There is no safe, acceptable or “normal” level of PFAS in the human body. Further,

                                                                   5 the fact that PFOA, PFOS, PFHxS, PFHpA, and PFNA are often found together presents a substantial

                                                                   6 risk to human health. Defendants’ have continuously deflected from the reality that there are

                                                                   7 thousands of PFAS in their products – including precursor PFAS which degrade into PFOA and

                                                                   8 PFOS.19

                                                                   9             81.      PFAS exposure affects nearly every system in the body.20 It has been associated with

                                                                  10 multiple and serious adverse health effects in humans including, but not limited to, cancer (in various

                                                                  11 parts of the body), tumors, liver damage, immune system and endocrine disorders, thyroid disease,
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                                                                  12 ulcerative colitis, birth defects, decreased fertility, pregnancy-induced hypertension, accelerated
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                                                                  13 changes in gene expression, and increases in oxidative stress which can contribute to DNA changes,

                                                                  14 tumor promotion, and other health conditions.21 It has also been found to concentrate in human blood,

                                                                  15 bones and organs, and to reduce the effectiveness of certain vaccines, a significant concern in light

                                                                  16 of COVID-19.22

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                                                                            Exposure to Toxic Chemical Linked with Worse COVID-19 Outcomes, The Harvard Gazette (Jan. 6, 2021),
                                                                  20 https://www.hsph.harvard.edu/news/hsph-in-the-news/pfas-exposure-linked-with-worse-covid-19-outcomes/.
                                                                       18
                                                                            Martin Scheringer et al., Helsingør Statement on Poly- and Perfluorinated Alkyl Substances (PFASs), Chemosphere
                                                                  21 (June 14, 2014), https://www.sciencedirect.com/science/article/pii/S004565351400678X.
                                                                       19
                                                                           Technical Fact Sheet - Perfluorooctane Sulfonate (PFOS) and Perfluorooctanoic Acid (PFOA), United States
                                                                  22 Environmental          Protection     Agency,       (Nov.     2017),    https://www.epa.gov/sites/production/files/2017-
                                                                       12/documents/ffrrofactsheet_contaminants_pfos_pfoa_11-20-17_508_0.pdf.
                                                                  23   20
                                                                          Kelly Lenox, PFAS Senate Hearing, Birnbaum’s Expert Scientific Testimony, Environmental Factor, National Institute
                                                                       of Environmental Health Sciences (May 2019), https://factor.niehs.nih.gov/2019/5/feature/1-feature-pfas/index.htm.
                                                                  24   21
                                                                           A. Koskela et al., Perfluoroalkyl substances in human bone: concentrations in bones and effects on bone cell
                                                                       differentiation,               Scientific             Reports,              (July             28,               2017),
                                                                  25   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5533791/pdf/41598_2017_Article_7359.pdf; National Toxicology
                                                                       Program Technical Report on the Toxicology and Carcinogenesis Studies of Perfluorooctanoic Acid Administered in
                                                                  26   Feed to Sprague Dawley (Hsd: Sprague Dawley SD) Rats, National Toxicology Program, (May 2020),
                                                                       https://ntp.niehs.nih.gov/ntp/htdocs/lt_rpts/tr598_508.pdf.
                                                                  27   22
                                                                          Id. (Koskela study); Tasha Stolber, PFAS Chemicals Harm the Immune System, Decrease Response to Vaccines,
                                                                       New EWG Review Finds, Environmental Working Group (November 12, 2020), https://www.ewg.org/news-and-
                                                                  28   analysis/2020/11/pfas-chemicals-harm-immune-system-decrease-response-vaccines-new-ewg.
                                                                                                                               21
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                                                                   1           C. Defendants Knowingly Designed, Manufactured, Developed, Marketed, Distributed,

                                                                   2           Supplied and/or Sold Toxic PFAS and/or Products Containing PFAS

                                                                   3           82.      Defendants have each designed, manufactured, developed, marketed, distributed,

                                                                   4 supplied, sold or otherwise used PFAS chemicals in products, including in PFAS-containing turnout

                                                                   5 gear and Class B foam, throughout the United States and in California and within Los Angeles,

                                                                   6 Riverside and San Bernardino Counties in California.

                                                                   7           83.      PFAS were first developed in the 1930s and 1940s. Soon after, 3M began

                                                                   8 manufacturing a PFAS material called perfluorooctanoic acid (“PFOA”), selling it to other

                                                                   9 companies, including DuPont.

                                                                  10           84.      By the 1950s, PFAS were widely used in large-scale manufacturing. Prior to this,

                                                                  11 PFAS had never been detected in nor were present in human blood or bodies.
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                                                                  12           85.      In the 1960s, Class B foam containing PFAS entered the global market and became
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                                                                  13 the primary firefighting foam all over the world with 3M as one of the largest manufacturers.

                                                                  14           86.      In the 1970s, Defendants National Foam and Tyco began to manufacture, market and

                                                                  15 sell Class B foam containing PFAS, followed by Defendants Chemguard and Dynax in the 1990s,

                                                                  16 and Defendant Buckeye in the 2000s.

                                                                  17           87.      Founded in 1918, Defendant MSA/Globe began manufacturing, marketing and selling

                                                                  18 turnout gear with DuPont’s NOMEX® PFAS-containing flame resistant fabric in 1966. MSA/Globe

                                                                  19 (under the Globe name) continues to manufacture, market and sell turnout gear using PFAS-

                                                                  20 containing fabrics supplied by its partners, DuPont, Gore, Tencate, and PBI.23

                                                                  21           88.      Defendant Lion began to manufacture, market and sell turnout gear in 1970. Since its

                                                                  22 founding, and continuing through to the present, Lion makes, markets and sells turnout gear using

                                                                  23 PFAS-containing fabrics, including Teflon® F-PPE-treated thermal lining material supplied by

                                                                  24 Defendants DuPont’s NOMEX® PFAS-containing flame/water/oil-resistant fabric, and moisture

                                                                  25

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                                                                  27   23
                                                                          See Globe History, Globe MSA Safety Website, (last visited February 26, 2021), https://globe.msasafety.com/history;
                                                                       Turnout Gear Materials, Globe MSA Safety Website, (last visited February 26, 2021),
                                                                  28   https://globe.msasafety.com/materials.
                                                                                                                               22
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                                                                   1 barrier fabrics supplied by Defendant Gore.24

                                                                   2              89.      Defendant Honeywell acquired Norcross Safety Products LLC in 2008, entering the

                                                                   3 protective gear industry and becoming one of the leading manufacturers of turnouts. Honeywell

                                                                   4 makes, markets and sells turnout gear using PFAS-containing fabrics, supplied by Defendants

                                                                   5 DuPont, Gore, PBI and StedFast.

                                                                   6              D. Defendants Know Exposure to PFAS Causes Serious Health Impacts

                                                                   7              90.      Defendants, including specifically 3M and DuPont, have long known about the serious

                                                                   8 and significant impacts to health caused by exposure to PFAS, having conducted study after study on

                                                                   9 the exposure and health effects of PFAS on animals, and in some cases, even on their own employees.

                                                                  10 The findings of these studies were discussed within the companies internally yet were never shared

                                                                  11 with their employees, nor were they made public or shared with any regulatory agencies. Among the
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                                                                  12 findings:
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                                                                  13                    a. A 1950 3M study showed that PFAS could build up in the blood of mice
                                                                                           and that PFAS could bind to proteins in human blood suggesting that PFAS
                                                                  14                       would not only remain, but also persist and accumulate in the body of the
                                                                                           exposed individuals with each additional exposure.25
                                                                  15

                                                                  16                    b. In 1961, a DuPont toxicologist warned that PFAS chemicals enlarge rat and
                                                                                           rabbit livers.26 A year later, these results were replicated in studies with
                                                                  17                       dogs.27
                                                                  18                    c. In 1963, 3M’s technical handbook classified PFAS as toxic and advised that
                                                                                           “due care should be exercised in handling these materials.”28
                                                                  19

                                                                  20                    d. In 1970, a company that purchased 3M’sfirefighting foam had to abandon
                                                                                           a test of the product because all the fish died.29
                                                                  21

                                                                  22

                                                                  23   24
                                                                            See Our History, Lion Website (last visited February 26, 2021), http://www.lionprotects.com/lion-history; Firefighter
                                                                  24 Turnouts, Lion Website (last visited February 26, 2021), https://www.lionprotects.com/firefighter-turnout-gear#.
                                                                       25
                                                                            Timeline - For 50 Years, Polluters Knew PFAS Chemicals Were Dangerous But Hid Risks From Public, Environmental
                                                                  25 Working Group, (2019), https://static.ewg.org/reports/2019/pfa-timeline/3M-DuPont-Timeline_sm.pdf; see also,
                                                                       https://www.ewg.org/pfastimeline/.
                                                                  26   26
                                                                          Id.
                                                                       27
                                                                             Nathaniel Rich, The Lawyer Who Became DuPont’s Worst Nightmare, New York Times (June 6,
                                                                  27   2016),https://www.nytimes.com/2016/01/10/magazine/the-lawyer-who-became-duponts-worst-nightmare.html.
                                                                       28
                                                                           Id. at fn. 28.
                                                                  28   29
                                                                           Id.
                                                                                                                                  23
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                                                                   1                e. In the 1970s, DuPont discovered that there were high concentrations of
                                                                                       PFOA in the blood samples of factory workers at DuPont’s Washington
                                                                   2                   Workssite.30
                                                                   3                f. By the end of the 1970s, studies performed by, at least 3M, indicated that
                                                                   4                   PFAS materials were resistant to environmental degradation and would
                                                                                       persist in the environment.31
                                                                   5
                                                                                    g. In 1981, 3M, which still supplied PFOA to DuPont and other corporations,
                                                                   6                   found that ingestion of PFOA caused birth defects in rats. 3Mreported this
                                                                                       information to DuPont. DuPont then tested the children of pregnant
                                                                   7                   employees in their Teflon division and found that of seven births, two
                                                                                       children had eye defects. Defendants reassigned the female employees, but
                                                                   8
                                                                                       did not inform the EPA or make this information public.32
                                                                   9
                                                                                    h. In 1988, a company that purchased PFAS firefighting foam complained to
                                                                  10                   3M because the product was not biodegradable as 3M represented.33
                                                                                       Subsequently, a 3M employee wrote an internal memo that “3M should stop
                                                                  11                   perpetrating the myth that these fluorochemical surfactants are
                                                                                       biodegradable, but the company continued to sell them.”34
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                                                                                    i. By at least the end of the 1980s, research performed by Defendants,
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                                                                  13
                                                                                       including specifically, Defendants 3M and DuPont, manufacturing and/or
                                                                  14                   using PFAS materials indicated that at least one such PFAS material,
                                                                                       PFOA, caused testicular tumors in a chronic cancer study in rats, resulting
                                                                  15                   in at least Defendant DuPont classifying such PFAS material internally as a
                                                                                       confirmed animal carcinogen and possible human carcinogen.35
                                                                  16
                                                                                    j. In the 1990s, Defendant DuPont knew that PFOA caused cancerous
                                                                  17
                                                                                       testicular, pancreatic and liver tumors in lab animals. One study also
                                                                  18                   suggested that PFOA exposure could cause possible DNA damage.36
                                                                                       Another study of workers found a link between PFOA exposure and
                                                                  19                   prostate cancer.37
                                                                  20                k. In response to the alarming and detrimental health impact, DuPont began to
                                                                                       develop an alternative to PFOA and in 1993, an internal memo announced
                                                                  21

                                                                  22   30
                                                                          Id.
                                                                       31
                                                                  23        PFCS: Global Contaminants: PFCs Last Forever, Environmental Working Group, (April 3, 2003),
                                                                       https://www.ewg.org/research/pfcs-global-contaminants/pfcs-last-forever.
                                                                       32
                                                                  24      Id. at fn. 28.
                                                                       33
                                                                          The Devil They Knew: PFAS Contamination and the Need for Corporate Accountability, Part II, Transcript of Hearing
                                                                  25   Before the Subcommittee on Environment of the Committee on Oversight and Reform, House of Representatives
                                                                       (September 19, 2019), https://docs.house.gov/meetings/GO/GO28/20190910/109902/HHRG-116-GO28-Transcript-
                                                                  26   20190910.pdf.
                                                                       34
                                                                          Id.
                                                                  27   35
                                                                          Id. at fn. 28.
                                                                       36
                                                                          Id.
                                                                  28   37
                                                                          Id.
                                                                                                                              24
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                                                                   1                         that “for the first time, we have a viable candidate” that appeared to be less
                                                                                             toxic and showed less bioaccumulation.38 DuPont decided against using this
                                                                   2                         potentially safer alternative, however, because products manufactured with
                                                                                             PFOA were worth $1 billion in annual profit.39
                                                                   3

                                                                   4                      l. On June 30, 2000, 3M and DuPont met to share 3M’s “pertinent data on
                                                                                             PFOA”. 3M informed DuPont that the half-life of PFOA was much longer
                                                                   5                         than animal studies showed.40

                                                                   6                91.      Additionally, approximately fifty years of studies by Defendants, including by 3M and
                                                                   7 DuPont, on human exposure to PFAS found unacceptable levels of toxicity and bio-accumulation, as

                                                                   8 well as a link to increased incidence of liver damage, various cancers, and birth defects in humans

                                                                   9 exposed to PFAS.41 These studies also revealed that, once in the body, PFAS has a very long half-

                                                                  10 life and that it takes years before even one-half of the chemicals begins to be eliminated from the

                                                                  11 body—assuming, of course, the body experiences no additional PFAS chemical exposure.42
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                                                                  12                92.      In the face of these findings, and despite passage of the Toxic Substances Control
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                                                                  13 Actin 1976, which requires companies that manufacture, process or distribute chemicals to

                                                                  14 immediately report to the Environmental Protection Agency (“EPA”) information that “reasonably

                                                                  15 supports the conclusion” that a chemical presents a substantial risk to health or the environment,

                                                                  16 Defendants did not inform the EPA, their consumers, firefighters, including MR. HORTON,

                                                                  17 PLAINTIFFS, or the public about the health impacts resulting from exposure to PFAS.43 Indeed, in

                                                                  18 at least some instances, Defendants’ own attorneys advised the companies to conceal their damaging

                                                                  19 findings on PFAS, which they did for decades.44

                                                                  20                93.      In 2000, 3M announced that it would cease manufacturing a specific PFAS chemical,
                                                                  21 PFOS, as well as Class B foam, on the same day the EPA announced that PFOA and PFOS, two

                                                                  22 chemicals in the PFAS family, had a “strong tendency to accumulate in human and animal tissues

                                                                  23

                                                                  24   38
                                                                            Id.
                                                                       39
                                                                  25        Id.
                                                                       40
                                                                                  Internal   DuPont     Memorandum,    DuPont        Haskell   Laboratory   Visit   (June   30,   2000),
                                                                  26 https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1721.pdf.
                                                                       41
                                                                          Id. at fn. 28.
                                                                  27   42
                                                                          Id.
                                                                       43
                                                                          Id.
                                                                  28   44
                                                                          Id. at fn. 28.
                                                                                                                                25
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                                                                   1 and could potentially pose a risk to human health and the environment over the long term.”45

                                                                   2           94.     However, 3M did not recall PFOS, its chemical feedstock, Class B foam that it had

                                                                   3 previously manufactured, sold, or distributed, or that was then stored at firehouses and being used by

                                                                   4 firefighters around the country. And, no other Defendant stopped manufacturing PFAS chemicals or

                                                                   5 products containing PFAS. Rather, Defendants continued to manufacture, develop, market, promote,

                                                                   6 distribute and sell PFAS chemicals and PFAS-containing products, including specifically PFAS-

                                                                   7 containing turnouts, and Class B foams and did so without any warning to firefighters or to the public

                                                                   8 concerning the fact that these turnouts and foams contained PFAS, or that they posed a serious health

                                                                   9 risk to human health. Defendants instead continued to claim their products were safe.

                                                                  10           95.     By the 2000s, Defendants’ own research of its employees revealed multiple adverse

                                                                  11 health effects among workers who had been exposed to PFAS, including increased cancer incidence,
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                                                                  12 hormone changes, lipid changes, and thyroid and liver impacts.46
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                                                                  13           96.     In 2001, a class action lawsuit was filed in West Virginia against DuPont on behalf of

                                                                  14 people whose water had been contaminated by the nearby DuPont chemical plant where PFAS

                                                                  15 chemicals were manufactured.

                                                                  16           97.     Defendants continued to manufacture, market, promote, distribute, and sell PFAS and

                                                                  17 PFAS-containing products, including turnouts and Class B foam, and continued to publicly claim that

                                                                  18 these products were safe. Defendants affirmatively suppressed independent research on PFAS, and

                                                                  19 instead commissioned research and white papers to support their claims that PFAS and PFAS-

                                                                  20 containing products were safe to use, engaging consultants to further this strategy and ensure that

                                                                  21 they would continue to profit from these toxic chemicals and products.

                                                                  22           98.     As one consultant wrote in pitching its services to DuPont, it was critical that the PFAS

                                                                  23 industry develop an aggressive strategy to “[discourage] governmental agencies, the plaintiffs’ bar

                                                                  24 and misguided environmental groups” and “[implement] a strategy to limit the effect of litigation and

                                                                  25 regulation on the revenue stream generated by PFOA.” The strategy was further described by

                                                                  26
                                                                  27   45
                                                                          EPA and 3M Announce Phase Out of PFOS, Press Release, United States Environmental Protection Agency (May 16,
                                                                       2000), https://archive.epa.gov/epapages/newsroom_archive/newsreleases/33aa946e6cb11f35852568e1005246b4.html.
                                                                  28   46
                                                                          Id. at fn. 28.
                                                                                                                            26
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                                                                   1 consultant as follows:

                                                                   2                      DUPONT MUST SHAPE THE DEBATE AT ALL LEVELS…. The
                                                                                          outcome of this process will result in the preparation of a multifaceted plan
                                                                   3                      to take control of the ongoing risk assessment by the EPA, looming
                                                                                          regulatory challenges, likely litigation, and almost certain medical
                                                                   4                      monitoring hurdles. The primary focus of this endeavor is to strive to create
                                                                                          the climate and conditions that will obviate, or at the very least, minimize
                                                                   5                      ongoing litigation and contemplated regulation relating to PFOA. This
                                                                                          would include facilitating the publication of papers and articles
                                                                   6                      dispelling the alleged nexus between PFOA and teratogenicity as well as
                                                                                          other claimed harm. We would also lay the foundation for creating Daubert
                                                                   7                      precedent to discourage additional lawsuits.47

                                                                   8
                                                                                 99.      Class B foam manufacturers and distributors adopted a similarly aggressive industry
                                                                   9
                                                                       campaign to evade government oversight or public attention of the risks posed by their products. At
                                                                  10
                                                                       a March 2001 meeting of the National Fire Protection Association’s Technical Meeting on Foam,
                                                                  11
                                                                       which included Defendant Class B foam manufacturers Tyco, Chemguard and National Foam, a 3M
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                                                                       representative informed attendees that 3M had discontinued its Class B foam business, citing
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                                                                  13
                                                                       concerns about the “proven pervasiveness, persistence and toxicity” of PFOS.48 Attendees also were
                                                                  14
                                                                       informed of evidence that telomer-based fluorosurfactants (used by every Class B foam manufacture
                                                                  15
                                                                       except 3M) degrade to PFOA and, worse, exhibit an even greater degree of pervasiveness and toxicity
                                                                  16
                                                                       than PFOA.
                                                                  17
                                                                                 100.     On or about the same time, certain Defendants, including at least Tyco, DuPont,
                                                                  18
                                                                       Dynax, Kidde, and Buckeye, founded and/or became members of the Fire Fighting Foam Coalition
                                                                  19
                                                                       (“FFFC”) – a non-profit organization of manufacturers, distributors and suppliers of Class B foam
                                                                  20
                                                                       (specifically AFFF).49 The FFFC’s self-described role was to be “the environmental voice for users
                                                                  21
                                                                       and manufacturers of AFFF” – one designed to ignore the health impacts of exposure to PFAS-
                                                                  22
                                                                       containing Class B foams such as AFFF:
                                                                  23
                                                                                          Not too long ago, 3M had environmental concerns about a chemical in their
                                                                  24                      product and decided to withdraw from the AFFF market. Even though no
                                                                                          other manufacturers used the questionable chemical, the withdrawal of 3M
                                                                  25
                                                                       47
                                                                            Letter from P. Terrence Gaffney, Esq of The Weinberg Group to Jane Brooks, Vice President, Special Initiatives,
                                                                  26 DuPont de Nemours & Company, regarding PFOA (April 29, 2003).
                                                                       48
                                                                            NFPA-11 Technical Committee Meeting Notes (National Fire Protection Association for Standards on Low-, Medium-
                                                                  27 and High-Expansion Foam) (March 14-15, 2001), https://assets.documentcloud.org/documents/4178280/NFPA-
                                                                       Schedule.pdf.
                                                                  28   49
                                                                          Fire Fighting Foam Council Website (last visited February 26, 2021), https://www.fffc.org/.
                                                                                                                                27
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                                                                   1                    from AFFF production raised a red flag. As a direct result, a lot of half-
                                                                                        truths and misinformation published by some well-meaning, but
                                                                   2                    misinformed, groups began to surface. One organization went so far as to
                                                                                        label our products as "hazardous waste" and as posing an "occupational
                                                                   3
                                                                                        health or environmental hazard." At the same time, the Federal government
                                                                   4                    was focusing its attention on the industry and needed to identify an industry
                                                                                        representative that could provide fact-based information and serve as a focal
                                                                   5                    point for dialogue. We decided, therefore, to form the FFFC in order to
                                                                                        educate, inform and help persuade regulatory and legislative decision-
                                                                   6                    makers that firefighting foams are a value-added component to any
                                                                                        firefighting capability.50
                                                                   7

                                                                   8
                                                                               101.     Defendants also pivoted with a new industry strategy. Defendants continued to
                                                                   9
                                                                       produce Class B foams containing PFAS and continued to publicly represent that PFAS and/or
                                                                  10
                                                                       products containing PFAS were safe, while developing newer, “short-chain” PFAS alternatives.
                                                                  11
                                                                               102.     In 2005, the EPA fined DuPont $16.5 million for failing to submit decades of toxicity
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                                                                       studies of PFOA (one PFAS chemical manufactured by the company).51 In the face of and undeterred
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                                                                  13
                                                                       by the EPA’s action, Defendant turnout manufacturers, such as MSA (Globe) and Lion, partnered
                                                                  14
                                                                       with DuPont and with Defendant Gore to develop, manufacture, market, distribute and turnouts made
                                                                  15
                                                                       with DuPont’s and/or Gore’s PFAS-based textile coatings (e.g., Nomex® and Gore® Protective
                                                                  16
                                                                       Fabrics).52
                                                                  17
                                                                               103.     In 2006, the EPA “invited” eight PFOA manufacturers, including Defendants DuPont,
                                                                  18
                                                                       3M, Arkema, and Daikin to join in a “Global Stewardship Program” and phase out production of
                                                                  19
                                                                       PFOA by 2015.53
                                                                  20
                                                                               104.     By this time, Defendants had begun to aggressively manufacture, market and/or
                                                                  21
                                                                       distribute short-chain PFAS, such as Gen X, claiming that these alternative PFAS chemicals did not
                                                                  22

                                                                  23   50
                                                                          Id. at https://web.archive.org/web/20020811142253/http:/www.fffc.org/about.html (captured August 11, 2002).
                                                                       51
                                                                           Michael Janofsky, DuPont to Pay $16.5 Million for Unreported Risks, New York Times (December 5, 2005),
                                                                  24   https://www.nytimes.com/2005/12/15/politics/dupont-to-pay-165-million-for-unreported-risks.html.
                                                                       52
                                                                          DuPont and LION Collaborate to Better Protect Firefighters and First Responders, Press Release, DuPont and LION
                                                                  25   (January 30, 2013), https://www.prweb.com/releases/dupont_protection_tech/lion_turnout_gear/prweb10362363.htm;
                                                                       Our Partners, Globe Website (last visited February 26, 2021), https://globe.msasafety.com/our-partners; and Firefighter
                                                                  26   & Emergency Response Protection, DuPont Website (last visited February 26, 2021), https://www.dupont.com/personal-
                                                                       protection/firefighter-protection.html.
                                                                  27   53
                                                                           PFOA Stewardship Program, United States Environmental Protection Agency (last visited February 26, 2021),
                                                                       https://www.epa.gov/assessing-and-managing-chemicals-under-tsca/risk-management-and-polyfluoroalkyl-substances-
                                                                  28   pfas#tab-3.
                                                                                                                                28
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                                                                   1 pose significant health risks to humans or the environment. But, these claims, too, were false.

                                                                   2 Defendants knew that certain of these short-chain PFAS chemicals had been found in human blood,

                                                                   3 and that at least one of them produces the same types of cancerous tumors (testicular, liver, and

                                                                   4 pancreatic) in rats as had been found in long-chain PFAS studies.54

                                                                   5              105.     In 2011, a C8 Science Panel convened as part of a settlement in the West Virginia

                                                                   6 DuPont water contamination case described above, began releasing its findings. The Panel had

                                                                   7 analyzed the blood serum of nearly 70,000 residents living in the water contamination area for two

                                                                   8 long-chain PFAS (PFOA and PFOS), and found significant negative human health effects (including,

                                                                   9 kidney cancer, testicular cancer, ulcerative colitis, thyroid disease, high cholesterol and preeclampsia)

                                                                  10 associated with exposure to these PFAS chemicals in the area groundwater.

                                                                  11              106.     In 2013, DuPont entered an agreement with the EPA and ceased production and use
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                                                                  12 of PFOA – just one of thousands of PFAS chemicals the company makes, promotes and sells.
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                                                                  13 Defendants, however, continued manufacturing short-chain PFAS materials, chemical feedstock, and

                                                                  14 products—all the while peddling them as safer, and as more easily bio-degraded than long-chain

                                                                  15 PFAS, despite evidence to the contrary.55

                                                                  16              107.     In 2015, DuPont spun-off its PFAS chemicals business, as well two-thirds of its

                                                                  17 environmental liabilities and 90% of its active litigation, to Defendant Chemours. As part of the

                                                                  18 transaction, DuPont required Chemours to indemnify the “new” DuPont for all assigned

                                                                  19 environmental liabilities should a regulatory agency or plaintiff seek to hold the “new” DuPont

                                                                  20 accountable. As Chemours President Paul Kirsch testified before Congress: “DuPont designed the

                                                                  21 separation of Chemours to create a company where it could dump its liabilities to protect itself from

                                                                  22 environmental cleanup and related responsibilities.”56

                                                                  23              108.     In June 2018, the Agency for Toxic Substances and Disease Registry (ASTDR), a

                                                                  24 division of the Centers for Disease Control and Prevention at the US Department of Health and

                                                                  25 Human Services released an 852-page draft toxicology report analyzing scientific data about the most

                                                                  26
                                                                       54
                                                                             Sharon Lerner, New Teflon Toxin Causes Cancer in Lab Animals, The Intercept (March 3, 2016),
                                                                  27 https://theintercept.com/2016/03/03/new-teflon-toxin-causes-cancer-in-lab-animals/.
                                                                       55
                                                                            Id. at fn. 19, see Tom Neltner, http://blogs.edf.org/health/2019/02/20/potential-biopersistence-short-chain-pfas/.
                                                                  28   56
                                                                            Id. at fn. 36.
                                                                                                                                    29
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                                                                   1 common PFAS chemical variants, finding that PFAS “are potentially more hazardous than previously

                                                                   2 known, are particularly concerning because of these compounds’ persistence in the environment and

                                                                   3 widespread prevalence—PFAS are extremely slow to biodegrade.”57

                                                                   4           109.     In September 2019, DuPont chief operations and engineering officer Daryl Roberts

                                                                   5 testified before Congress that the “new DuPont” (to be distinguished from the “old DuPont” which

                                                                   6 manufactured and sold PFAS for decades before being spun-off to Chemours) no longer uses or

                                                                   7 manufactures PFAS and is no longer responsible for obligations and harms resulting from over 65

                                                                   8 years of producing PFAS.58 Roberts further testified that he knew nothing about “old DuPont’s”

                                                                   9 efforts to suppress research on PFAS’ toxicity as testified to by one of DuPont’s former scientists

                                                                  10 only a few days earlier.59 Finally, he stated that any liabilities from “old DuPont’s” PFAS operations

                                                                  11 were now Chemours’ problem because DuPont is essentially a completely new company with no past
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                                                                  12 – only a bright future of doing good in the world.60
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                                                                  13           E. Defendants Failed to Warn Firefighters, Including FIRE MARSHAL HORTON, of

                                                                  14           the Dangers of Exposure to PFAS and Falsely Represented That Their PFAS Products

                                                                  15           Were Safe

                                                                  16           110.     As alleged above, Defendants knew that PFAS are persistent, toxic, and bio-

                                                                  17 accumulating with a very long half-life. They knew that exposure to PFAS can cause serious and life-

                                                                  18 threatening diseases, including cancer.

                                                                  19           111.     Yet, Defendants did not warn firefighters, including FIRE MARSHAL HORTON,

                                                                  20 that PFAS and Defendants’ PFAS-containing products, including turnouts and Class B foams used

                                                                  21 by firefighters, including FIRE MARSHAL HORTON, contained PFAS, or that exposure to PFAS

                                                                  22 in the normal and intended use of such products, causes serious bodily harm and illnesses, including

                                                                  23 cancer.

                                                                  24
                                                                       57
                                                                  25       A Toxic Threat: Government Must Act Now on PFAS Contamination at Military Bases, Center for Science and
                                                                       Democracy (September 2018), https://www.ucsusa.org/sites/default/files/attach/2018/09/a-toxic-threat-pfs-military-fact-
                                                                  26   sheet-ucs-2018.pdf.
                                                                       58
                                                                          Id. at fn. 36.
                                                                  27   59
                                                                          Id.
                                                                       60
                                                                          Id.
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                                                                   1           112.     Instead, Defendants falsely represented that PFAS and PFAS-containing products,

                                                                   2 including turnouts and Class B foams, are safe and not harmful to humans or the environment.

                                                                   3           113.     Such assertions fly in the face of science and a global movement toward eliminating

                                                                   4 this class of chemicals from consumer products. In recent years, for example, Congress passed

                                                                   5 legislation to address PFAS in turnouts and foam,61 and numerous states have severely restricted

                                                                   6 and/or banned PFAS-containing firefighting foam with California and Colorado also banning PFAS-

                                                                   7 containing turnouts as of 2022.62 The U.S. Food and Drug Administration similarly has called for

                                                                   8 phasing out of short-chain PFAS that contain 6:2 fluorotelomer alcohol (6:2 FTOH).63 And private

                                                                   9 companies like Home Depot, Lowes and Staples recently have begun to discontinue selling products

                                                                  10 containing any PFAS, as have several outdoor, durable clothing companies (e.g. Columbia and

                                                                  11 Marmot), clothing retailers (e.g. H&M, Levi Strauss & Co), shoe companies (e.g. Adidas and New
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                                                                  12 Balance), car seat manufacturers (e.g. Britax and Graco), furniture companies (e.g. IKEA), personal
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                                                                  13 care companies (e.g. Johnson & Johnson and Oral-B), and textile manufacturing companies.64

                                                                  14           (1) Defendants Provide No Safety Warnings on Product Labels

                                                                  15           114.     PLAINTIFFS allege that the packaging on the PFAS-containing Class B foam

                                                                  16 containers used for mixing Class B foam with water, pumping the mixture into engines, and for

                                                                  17 spraying and laying foam blankets for fire suppression or fire suppression training, contained no

                                                                  18
                                                                       61
                                                                          Ryan Woodward, Congress Passes Legislation to Address PFAS Chemicals Impacting Firefighters, Fire Rescue 1,
                                                                  19
                                                                       (December 17, 2020), https://www.firerescue1.com/legislation-funding/articles/congress-passes-legislation-to-address-
                                                                       pfas-chemicals-impacting-firefighters-Sp8MFif5dAbD4ZrI/.
                                                                  20   62
                                                                          Andrew Wallender, Toxic Firefighting Foam With PFAS Scrutinized by Multiple States, Bloomberg Law (June 18,
                                                                  21   2020), https://news.bloomberglaw.com/pfas-project/toxic-firefighting-foam-with-pfas-scrutinized-by-multiple-states;
                                                                       Cheryl Hogue, California Bans PFAS Firefighting Foams, Chemical & Engineering News (October 1, 2020),
                                                                       https://cen.acs.org/environment/persistent-pollutants/California-bans-PFAS-firefighting-
                                                                  22
                                                                       foams/98/i38#:~:text=California%20is%20halting%20the%20sale,US%20market%20to%20do%20so;                     Marianne
                                                                       Goodland, While Dozens of Bills Are Getting Axed, A Bill on Firefighting Chemicals Sails On, Colorado Politics (May
                                                                  23   28, 2020), https://www.coloradopolitics.com/legislature/while-dozens-of-bills-are-getting-axed-a-bill-on-firefighting-
                                                                       chemicals-sails-on/article_1b1e05f2-a11e-11ea-a270-230a36e06594.html; Legislature Takes Strongest Stand Yet to
                                                                  24   Phase out PFAS in Firefighting Foam, Washington State Council of Fire Fighters (March 5, 2020),
                                                                       https://www.wscff.org/legislature-takes-strongest-stand-yet-to-phase-out-pfas-in-firefighting-foam/.
                                                                  25   63
                                                                          FDA Announces the Voluntary Phase-Out by Industry of Certain PFAS Used in Food Packaging, U.S. Food and Drug
                                                                       Administration, July 31, 2020, https://www.fda.gov/food/cfsan-constituent-updates/fda-announces-voluntary-phase-out-
                                                                  26   industry-certain-pfas-used-food-packaging.
                                                                       64
                                                                          Muhannad Malas, Home Depot, Lowe’s and Staples Take Action to Protect Their Customers from PFAS and Other
                                                                  27   Harmful Toxics Lurking in Carpets and Office Supplies, Environmental Defence (November 5, 2019),
                                                                       https://environmentaldefence.ca/2019/11/05/home-depot-lowes-staples-protect-customers-toxics/; PFAS-Free Products,
                                                                  28   PFAS Central, (last visited February 15, 2021), https://pfascentral.org/pfas-free-products/.
                                                                                                                               31
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                                                                   1 warning that the Class B foam contained PFAS. Nor did it inform persons handling or using the foam

                                                                   2 as it was intended to be handled that such use can result in exposure to PFAS and serious bodily harm.

                                                                   3          115.   The labels on the containers for Class B foam warn only of possible skin or eye

                                                                   4 irritation, and suggest rinsing areas of contact with water. They contain no information about the

                                                                   5 Class B foam containing PFAS or PFAS-containing materials, and provide no warning whatsoever

                                                                   6 of the human health risks and serious health conditions associated with PFAS exposure resulting from

                                                                   7 the normal and intended use of Class B foam in fire suppression or fire suppression training.

                                                                   8          116.   PLAINTIFFS further allege that turnouts containing PFAS or PFAS materials sold

                                                                   9 or distributed by Defendants in California, and used by firefighters, including FIRE MARSHAL

                                                                  10 HORTON, in training, emergency incidents, or in fire suppression during their firefighting

                                                                  11 careers, also contained no warning that the turnouts contain PFAS or PFAS materials. Nor did
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                                                                  12 these labels inform persons handling, wearing, or using the turnouts as they wer e intended to be
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                                                                  13 handled, worn or used can result in exposure to PFAS and serious bodily harm.

                                                                  14          117.   The labels for the turnouts made no mention of PFAS, did not advise that the

                                                                  15 turnouts contain PFAS or PFAS materials, and contained no warning that handling, wearing, or

                                                                  16 using the turnouts as they were intended to be handled, worn or used can result in exposure to

                                                                  17 PFAS and serious bodily harm. Further, while the labels provide washing instructions, the

                                                                  18 instructions do not advise that turnouts should be washed in a commercial extractor to prevent

                                                                  19 cross-contamination and PFAS-exposure to family members who handle or wash the turnouts

                                                                  20 with other garments in home washing machines.

                                                                  21          (2) Defendants’ MSDS Sheets Do Not Warn About PFAS or PFAS Exposure

                                                                  22          118.   A Material Safety Data Sheet (or “MSDS”) is a document that Occupational

                                                                  23 Safety and Health Administration (OSHA) requires companies to provide to end users for

                                                                  24 products that contain substances or chemicals that are classified as hazardous or dangerous.

                                                                  25 Access to such information is necessary for firefighters, including FIRE MARSHAL HORTON,

                                                                  26 to provide a safe and effective response in emergency situations.
                                                                  27          119.   The MSDS provided with Defendants’ Class B foams did not – and to this day do

                                                                  28 not – state that these foams contain PFAS or PFAS-containing materials; that PFAS is persistent,
                                                                                                                      32
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                                                                   1 toxic and bio-accumulating; or that PFAS exposure causes serious bodily harm. To the contrary,

                                                                   2 the MSDS falsely stated that the Class B foams and/or their contents were not known carcinogens

                                                                   3 and did not cause birth defects.

                                                                   4           120.     Even as recently as November 2020, the MSDS did not reflect the known serious

                                                                   5 health risks and hazards associated with exposure to PFAS in Class B foams. For example, a

                                                                   6 MSDS updated on November 20, 2020, by Defendant National Foam for AFFF stated the product

                                                                   7 was not carcinogenic or toxic - contrary to decades of science. 65

                                                                   8           (3) Defendants’ Misrepresentations About PFAS Continue to this Day

                                                                   9           121.     Despite their decades of knowledge about PFAS and its dangers, Defendants

                                                                  10 continue to make false claims, continue to misrepresent the safety of PFAS, and continue to

                                                                  11 minimize and fail to warn about the hazards of exposure to PFAS, or turnouts and Class B foams
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                                                                  12 made with or containing PFAS.
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                                                                  13           122.     Defendants’ misinformation campaign is long-standing, and continues to this day.

                                                                  14 Some pertinent examples include:

                                                                  15                a. 2017 – Defendant Lion’s President, Stephen Schwartz, wrote a letter to
                                                                                       the editor of the Columbus Dispatch, expressing outrage at the assertion
                                                                  16                   in a government filing that firefighters may have been exposed to PFAS
                                                                                       through turnout gear. Schwartz called this assertion false, stating that
                                                                  17
                                                                                       Lion’s turn-out gear is not treated or made with PFOS or PFOA:.
                                                                  18                   “PFOAs and PFOSs have never been components of LION’s turn-out
                                                                                       gear, either as a coating or as a textile.” He acknowledged that turn -out
                                                                  19                   gear is treated with PTFE to provide a durable water repellant, and that
                                                                                       the textile industry in the past had used PFOA as a processing aid to
                                                                  20                   manufacture PTFE moisture barrier films and repellants. “It is possible
                                                                                       that trace amounts may have been present as a residue when the films
                                                                  21
                                                                                       and finishes were incorporated into LION’s turn-out gear. However,
                                                                  22                   based on all available scientific data, such nominal trace amounts, if
                                                                                       they existed at all, would not have posed any health risk to firefighters.
                                                                  23                   There is absolutely no connection at all between PFOS and firefighter
                                                                                       turnout gear.” (Emphasis added). 66
                                                                  24

                                                                  25                b. 2018 – The National Fire Protection Association (which maintains

                                                                  26   65
                                                                          National Foam Safety Data Sheet for Centurion (TMC6) 6% Aqueous Film Forming Foam Concentrate (AFFF)
                                                                       (November          20,     2020),     https://nationalfoam.com/wp-content/uploads/sites/4/NMS340-Centurion-6-AFFF-
                                                                  27   Concentrate_11302020.pdf.
                                                                       66
                                                                          Letter from LION president Stephen A. Schwartz to Ala D. Miller, Editor, The Columbus Dispatch (October 30, 2017),
                                                                  28   http://files.constantcontact.com/bf8abd7a001/01f5d727-d72e-42dc-971b-caa9c2855800.pdf.
                                                                                                                               33
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                                                                   1                    committees on foams and turnouts that are comprised, in part, of certain
                                                                                        Defendants) issued a publication listing 11 ways to minimize risk of
                                                                   2                    occupational cancer – the suggestions centered on wearing turnouts for
                                                                                        protection resulting from combustion or spills, and cleaning turnouts
                                                                   3
                                                                                        after exposure to chemicals. There was not a single mention of avoiding
                                                                   4                    contact with foam and/or the risks of wearing turnouts containing PFAS
                                                                                        or PFAS-containing materials. 67
                                                                   5
                                                                                    c. 2019 – Defendant 3M Vice President, Denise Rutherford, testified
                                                                   6                   before Congress that she absolutely agreed with the statement that “the
                                                                                       weight of current scientific evidence does not show that PFOS or
                                                                   7
                                                                                       PFOA cause adverse health effects in humans at current rates of
                                                                   8                   exposure.” (emphasis added) 68

                                                                   9                d. 2019 - The Fire Fighting Foam Council (of which many Defendants
                                                                                       have been members since its inception in 2001) wrote in their newsletter
                                                                  10                   that: “Short-chain (C6) fluorosurfactants do not contain or breakdown
                                                                  11                   in the environment to PFOS or PFOA and are currently considered lower
                                                                                       in toxicity and have significantly reduced bio-accumulative potential
                                                                                       than long-chain PFAS.” 69
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                                                                  13                e. 2020 - FluorCouncil – the lobbying arm of the PFAS industry –
                                                                                       maintains that PFAS fluorotelomers that are in Class B foam and
                                                                  14                   turnouts do not cause cancer, disrupt endocrine activity, negatively
                                                                  15                   affect human development or reproductive systems, do not build up in
                                                                                       the human body, and do not become concentrated in the bodies of living
                                                                  16                   organisms. 70

                                                                  17                f. 2020 – The Fire Fighting Foam Council website states: “The short-chain
                                                                                       (C6) fluorosurfactants that have been the predominant fluorochemicals
                                                                  18                   used in fluorotelomer-based AFFF for the last 25 years are low in
                                                                  19                   toxicity and considered to be bio-accumulative based on current
                                                                                       regulatory criteria.” 71
                                                                  20
                                                                                    g. 2020 – The Fire Fighting Foam Council’s Best Practice Guidance for
                                                                  21                   Use of Class B Foam - which was published in May 2016 and has not
                                                                                       been updated to reflect the latest research - focuses entirely on
                                                                  22
                                                                                       eliminating and containing foam to minimize impact on the
                                                                  23
                                                                       67
                                                                          11 Best Practices for Preventing Firefighter Cancer Outlined in New Report Put Out by VCOS and NVFC, National
                                                                  24
                                                                       Fire Protection Association Xchange (August 16, 2018), https://community.nfpa.org/community/nfpa-
                                                                       today/blog/2018/08/16/11-best-practices-for-preventing-firefighter-cancer-outlined-in-new-report-put-out-by-vcos-and-
                                                                  25   nvfc.
                                                                       68
                                                                          Gabe Schneider, 3M Grilled over PFAS Chemicals at Congressional Hearing, MinnPost (September 11, 2019),
                                                                  26   https://www.minnpost.com/national/2019/09/3m-grilled-over-pfas-chemicals-at-congressional-hearing/.
                                                                       69
                                                                          AFFF Update Newsletter, Fire Fighting Foam Council (April 2019), https://tinyurl.com/y57c5jwx.
                                                                  27   70
                                                                          An Important Update About FluoroCouncil, FluoroCouncil, Global Industry Council for Fluoro Technology (last
                                                                       visited September 7, 2020), https://fluorocouncil.com/important-update-about-fluorocouncil/.
                                                                  28   71
                                                                          Fact Sheet on AFFF Fire Fighting Agents, Fire Fighting Foam Council (2017), https://tinyurl.com/yyxscyas.
                                                                                                                               34
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                                                                   1                    environment. It makes no mention of how to minimize the impact on
                                                                                        firefighters who routinely handle, prepare, spray, or use Class B foam
                                                                   2                    during training or in firefighting. 72
                                                                   3
                                                                                 123.   As frequent sponsors and advertisers in fire service publications, Defendants have
                                                                   4
                                                                       been so influential in the industry that fire service leadership have echoed these narratives.
                                                                   5
                                                                                 124.   For example, in 2017, the International Association of Fire Fighters (“IAFF”),
                                                                   6
                                                                       which represents more than 324,000 full-time professional firefighters, issued a statement that
                                                                   7
                                                                       both mischaracterized and purported to state that the risks associated with exposure to PFAS and
                                                                   8
                                                                       PFAS chemicals and materials in turnouts and Class B foams was minimal to non -existent. The
                                                                   9
                                                                       statement even encouraged firefighters to continue to wear turnouts and use legacy Class B
                                                                  10
                                                                       foams, creating a false sense that these PFAS-containing turnouts and foams were safe. The
                                                                  11
                                                                       statement reads, in relevant part:
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                                                                                     Importantly, PFOA use has been almost completely phased out in the
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                                                                  13
                                                                                     US….Fire fighters may have additional PFOA exposure sources such as
                                                                  14                 older Class B firefighting foams. If PFOA is a combustion product of PFOA-
                                                                                     containing consumer products made prior to phasing out use of this
                                                                  15                 chemical, fire fighters will be exposed in fire suppression activities.
                                                                                     However, the data are too limited at present to determine this. PFOA is
                                                                  16                 unlikely to be a component in recently US manufactured turnout gear.
                                                                                     However, if PFOA is a combustion product, it may be present as a
                                                                  17
                                                                                     contaminant on turnout gear. PFOA may also be present as a manufactured
                                                                  18                 component of legacy turnout gear….The exposure contribution from any
                                                                                     such PFOA content is likely to be minimal since volatilization from the
                                                                  19                 manufactured product would be required….At this time, IAFF does not
                                                                                     recommend that legacy turnout gear be replaced outside of its lifecycle.
                                                                  20                 Fire fighters wishing to minimize PFOA exposure should continue to
                                                                  21                 wear their PPE…and regularly decontaminate their turnout gear. IAFF
                                                                                     will continue to monitor developments and update this fact sheet should new
                                                                  22                 information become available. 73

                                                                  23
                                                                                 125.   The IAFF maintained this position until January 2021 when IAFF members
                                                                  24
                                                                       demanded that the IAFF leadership hold turnout and Class B foam manufacturers accountable. 74
                                                                  25

                                                                  26   72
                                                                           Best Practice Guidance for Use of Class B Firefighting Foams, Fire Fighting Foam Council (May 2016),
                                                                       https://tinyurl.com/2kzdsed9.
                                                                  27   73
                                                                            Need to copy over the footnote, if we’re going to keep this claim.
                                                                  28   74
                                                                            Need to copy over the footnote, if we’re going to keep this claim.
                                                                                                                          35
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                                                                   1           126.     Because of these and other false claims and misrepresentations on the part of

                                                                   2 Defendants, firefighters, including FIRE MARSHAL HORTON, did not know and, in the

                                                                   3 exercise of reasonable diligence, could not have known that the turnouts and Class B foams they

                                                                   4 used contained PFAS or PFAS-containing materials, and caused firefighters, including FIRE

                                                                   5 MARSHAL HORTON, to be exposed to PFAS and/or PFAS-containing materials, causing them

                                                                   6 to suffer cancers and other serious illnesses as a result of such exposure.

                                                                   7           F. New Research Indicates That Firefighters are at Significant Risk of Harm From

                                                                   8           Exposure to PFAS in Turnouts and Class B Foams — But Defendants Continue to

                                                                   9           Discount or Deny These Risks

                                                                  10           127.     While historical research (and litigation) has centered on environmental impacts

                                                                  11 and environmental exposures associated with PFAS and PFAS-containing products, recent
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                                                                  12 studies have focused specifically on the serious health impacts to firefighters stemming from
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                                                                  13 their occupational exposure to turnouts and Class B foams containing PFAS.

                                                                  14           128.     In October 2019, for example, an expert panel of the International Pollutants

                                                                  15 Elimination Network (IPEN), an international non-profit organization comprised of over 600

                                                                  16 public interest non-governmental organizations dedicated to improving global chemical waste

                                                                  17 policies, published a scientific paper that, in the words of its authors, “presents unequivocal

                                                                  18 evidence from recent studies that firefighters” using Class B foams (primarily AFFF) “have

                                                                  19 unexpectedly elevated blood levels” of PFAS, including, specifically, PFHxS and PFOS, with

                                                                  20 PFHxS (a short-chain, C6 PFAS) being “potentially of greater concern than PFOS given its much

                                                                  21 longer elimination half-life in humans.” 75

                                                                  22           129.     The paper explains that “[f]irefighters can be significantly exposed to PFHxS and

                                                                  23 other PFAS from firefighting foam via various occupational mechanisms including direct

                                                                  24 exposure during use as well as exposure from contaminated personal protective equipment

                                                                  25 (PPE), handling of contaminated equipment, managing PFAS foam wastes, occupation of

                                                                  26
                                                                  27   75
                                                                          Perfluorohexane Sulfonate (PFHxS) – Socio-Economic Impact, Exposure and the Precautionary Principle Report,
                                                                       IPEN       Expert     Panel     (October     2019),     https://ipen.org/sites/default/files/documents/pfhxs_socio-
                                                                  28   economic_impact_final_oct.2019.pdf.
                                                                                                                              36
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                                                                   1 contaminated fire stations and consumption of contaminated local water and produce. Cross -

                                                                   2 contamination and legacy PFAS residues from inadequately decontaminated appliances after

                                                                   3 transitioning to fluorine-free foam can remain a long-term problem.” 76

                                                                   4             130.     The panel concluded that “[o]ngoing exposure to PFHxS, PFOS and other PFAS

                                                                   5 amongst firefighters remains a major occupational health issue,” noting that “[b]io-accumulation

                                                                   6 and very slow bio-elimination may be very significant influencing factors in PFHxS exposure”

                                                                   7 in firefighters. 77 “Of greater concern,” the panel observed, “is that firefighter blood levels for

                                                                   8 PFOS and PFHxS are many times higher than the median values for the general…population.” 78

                                                                   9             131.     In June 2020, scientists at the University of Notre Dame published a ground-

                                                                  10 breaking study on PFAS in turnout gear, and the exposure risks posed to firefighters that wear,

                                                                  11 wore, or handle such gear (“Notre Dame Turnout Study”). The Notre Dame Turnout Study
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                                                                  12 analyzed over 30 sets of used and unused (still in their original packaging) turnout gear made by
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                                                                  13 six U.S. manufacturers, including Defendants MSA/Globe, Lion and Honeywell, over several

                                                                  14 production years, as listed below: 79

                                                                  15

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                                                                  17

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                                                                  19

                                                                  20             132.     The Notre Dame Turnout Study noted that these manufacturers’ turnout gear (or

                                                                  21 personal protective equipment-PPE, as it is described in the study) are manufactured “from

                                                                  22 textiles that are made from fluoropolymers (one form of PFAS) or extensively treated by PFAS

                                                                  23 in the form of side-chain fluoropolymers.” 80 According to the researchers, “[t]hese PFAS include

                                                                  24 fluoropolymer materials such as PTFE used as a moisture barrier in the inner layers of turnout

                                                                  25
                                                                       76
                                                                  26      Id. at p. 25.
                                                                       77
                                                                          Id.
                                                                  27   78
                                                                          Id.
                                                                       79
                                                                          Id. at fn. 7.
                                                                  28   80
                                                                          Id. at p. A.
                                                                                                                        37
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                                                                   1 gear.” 81 The study found significant levels of PFAS chemicals – including PFOA, PFOS, PFBA,

                                                                   2 PFPeA, PFHxA, PFHpA, PFNA, PFDA, PFUnA, PFDoA, PFTrDA, PFToDA, PFBS, PFOSA,

                                                                   3 N-EtFOSA, MeFOSAA, N-MeFOSE, N-EtFOSE and 6:20FTS – in both new and used turnout

                                                                   4 gear, and across layers, portions, and materials in the turnout gear, including in material layers

                                                                   5 that are not intentionally treated with PFAS by the manufacturer, thereby providing “the first

                                                                   6 evidence that suggests PFAS appear to migrate from the highly fluorinated lay ers and collect in

                                                                   7 the untreated layer of clothing worn against the skin.” 82

                                                                   8             133.    These findings suggest that, as the garments are worn, PFAS from the outer shell

                                                                   9 and the moisture barrier can migrate from the turnouts and contaminate both the firefighter, their

                                                                  10 apparatus and workplace with PFAS. The analysis also indicated that fluoropo lymers from the

                                                                  11 outer layer decompose into other PFAS, including PFOA.
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                                                                  22             134.    “Startlingly,” researchers reported, “garment to hand transfer of total fluorine in

                                                                  23 the ppm range was also observed when researchers simply manipulated the textiles in [the]

                                                                  24 laboratory.” 83 The accumulation of PFAS on researchers’ hands strongly suggests that

                                                                  25 transference of ppm levels of PFAS can occur merely by handling the turnouts and that PFAS

                                                                  26
                                                                  27   81
                                                                          Id.
                                                                       82
                                                                          Id. at p. C.
                                                                  28   83
                                                                          Id.
                                                                                                                         38
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                                                                   1 exposure pathways include inhalation, ingestion and/or absorption (through dermal contact) –

                                                                   2 all of which DuPont internally acknowledged as being toxic in 1980. Such exposure pathways

                                                                   3 are a concern not only for firefighters that rely on turnouts to protect them from heat, fire, water

                                                                   4 and chemical hazards in the field, but to family members who may be exposed to the PFAS in

                                                                   5 turnouts as the result of home washing or storage. Lead researcher Graham Peaslee commented

                                                                   6 that turnouts are “the most highly fluorinated textiles I’ve ever seen” 84 and that the level of PFAS

                                                                   7 in the turnout gear means that firefighters are “swimming in a sea of [PFAS]. Those numbers

                                                                   8 for scientists are scarily high...” 85

                                                                   9            135.     Despite these findings, Defendants have been quick to mischaracterize, dismiss or

                                                                  10 downplay the significance of the Notre Dame Turnout Study. Defendant MSA/Globe, when

                                                                  11 contacted about the study and asked whether Globe planned to study this issue and find an
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                                                                  12 alternative to PFAS for turnouts, merely responded thusly: “[P]rotecting (firefighters) is Globe’s
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                                                                  13 business; every piece of our turnout gear meets or exceeds applicable industry standards." 86

                                                                  14            136.     Defendant Lion’s responses have been similar, and have also dismissed or

                                                                  15 minimized the significance of the Notre Dame Turnout Study’s findings. Lion issued a Customer

                                                                  16 Safety Alert for PFOA and Turnout Gear stating: “Your LION turnout gear continues to be s afe

                                                                  17 and ready for action especially when properly maintained. It is extremely important that

                                                                  18 firefighters continue to wear and properly care for their gear to stay safe on the job.” 87

                                                                  19            137.     The Customer Safety Alert goes on to stress that Lion does not use PFOA or PFOS

                                                                  20 (two long-chain PFAS chemicals) in its turnouts. 88 It does not, however, address that the maker’s

                                                                  21 turnouts in fact contain other PFAS chemicals, nor warn firefighters or the public about health

                                                                  22
                                                                       84
                                                                  23      Raleigh McElvery, Protective Gear Could Expose Firefighters to PFAS, Chemical and Engineering News (July 1,
                                                                       2020),                          https://cen.acs.org/environment/persistent-pollutants/Protective-gear-expose-firefighters-
                                                                  24   PFAS/98/i26?fbclid=IwAR3ktyIcasjnxHiv3RNDRJldZmunQleAEoS3Av225uOscj2hFbffVcO3-Go.
                                                                       85
                                                                          Andrew Wallender, Firefighters Face New Possible Risk From Toxic PFAS: Their Gear, Bloomberg Law (June 23,
                                                                  25   2020), https://news.bloomberglaw.com/pfas-project/firefighters-face-new-possible-risk-from-toxic-pfas-their-gear.
                                                                       86
                                                                           Blair Miller, Local Firefighters Concerned About Potentially Dangerous Chemicals on Gear, Boston 25 News
                                                                  26   (February 26, 2019), https://www.boston25news.com/news/local-firefighters-facing-concerns-over-potentially-
                                                                       dangerous-chemicals-on-gear/92523612/.
                                                                  27   87
                                                                              LION      Customer      Safety      Alert    –     PFOA     and      Turnout     Gear      (April   24,     2019),
                                                                       https://cdn2.hubspot.net/hubfs/3475623/LION_PFOA_factsheet_042419.pdf.
                                                                  28   88
                                                                          Id.
                                                                                                                                 39
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                                                                   1 harms associated with exposure to these toxic, bio-accumulating chemicals.

                                                                   2           138.     Defendant Lion’s paid consultant, Dr. Paul Chrostowski, also has taken aim at the

                                                                   3 Notre Dame Turnout Study and its findings. Refuting a Fire Rescue magazine article about the

                                                                   4 study,89 Chrostowski repeated Lion’s website statement that “PFOA was never part of the gear

                                                                   5 itself and frequent independent testing has found only trace amounts of it in any of the gear –

                                                                   6 not nearly enough to cause concern, and in amounts similar to consumer prod ucts.”90

                                                                   7 Chrostowski went on to say “[t]he fact is that one may find trace amounts of ‘short-chain’ PFAS

                                                                   8 such as PFBS and PFHxA in firefighting textiles, but the scientific research shows that these

                                                                   9 materials are far less toxic than even PFOA and at the tiny trace levels the risk are extremely

                                                                  10 low based on numerous credible published scientific research papers.” 91 Finally, Chrostowski

                                                                  11 falsely stated that the link between PFAS exposure and cancer is “extremely weak.” 92
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                                                                  12           139.     And yet, Lion concedes that dermal absorption is a pathway of exposure to cancer-
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                                                                  13 causing chemicals for firefighters. In a Not in Our House cancer awareness fact sheet that

                                                                  14 currently appears on the company’s website, Lion warns firefighters: “For every 5 degree

                                                                  15 increase in temperature, skin becomes 400% more absorbent. The hotter you are, the more

                                                                  16 carcinogens your skin absorbs. 93 This statistic is alarming given that the core body temperature

                                                                  17 of firefighters routinely increases during firefighting activities while wearing turnouts which

                                                                  18 contain known carcinogens. 94

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                                                                       89
                                                                  22      Larissa Conroy, What If I Told You That Your Bunker Gear Was Causing Cancer?, Fire Rescue (May 28, 2020),
                                                                       https://www.firefighternation.com/firerescue/what-if-i-told-you-that-your-bunker-gear-was-causing-cancer/#gref.
                                                                       90
                                                                  23      Paul Chrostowski, Ph.D., QEP, Research and Independent Testing Shows Firefighters’ Turnout Gear Remains Safe
                                                                       Despite Claims, Fire Rescue (June 3, 2020). https://firerescuemagazine.firefighternation.com/2020/06/03/research-and-
                                                                  24   independent-testing-shows-firefighters-turnout-gear-remains-safe-despite-claims/ - gref.
                                                                       91
                                                                          Id.
                                                                  25   92
                                                                          Id.
                                                                       93
                                                                          LION website, https://cdn2.hubspot.net/hubfs/3475623/NOT IN OUR HOUSE Tip Sheet_Infographic (02-02-19).pdf
                                                                  26   (last visited February 26, 2021).
                                                                       94
                                                                           Nancy Espinoza, Can We Stand the Heat?, Journal of Emergency Medical Services, (April 30, 2008),
                                                                  27   https://www.jems.com/operations/can-we-stand-heat-study-reveal/; Gavin P. Horn, et al., Thermal Response to
                                                                       Firefighting Activities in Residential Structure Fires: Impact of Job Assignment and Suppression Tactic, Ergonomics
                                                                  28   (July 31, 2017), https://tinyurl.com/4j2mz7f7.
                                                                                                                               40
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                                                                   1             140.     The IAFF holds a yearly cancer summit and yet has done little to address the PFAS

                                                                   2 in turnouts. 95 Defendants, including at least DuPont, Gore, Lion and MSA (Globe), have been

                                                                   3 regular sponsors of the IAFF Cancer Summit.

                                                                   4             141.     At this event, as well as in firefighter cancer-related publications, programs and

                                                                   5 events, Defendants repeatedly used the summit as an opportunity to push the narrative that

                                                                   6 incidence of cancer among firefighters is attributable either to other chemicals encountered in

                                                                   7 the line of duty, or firefighters’ failure to wash their turnouts after every call. Not once have the

                                                                   8 turnout Defendants admitted that the PFAS materials in their products has been found to be

                                                                   9 carcinogenic, and that the very equipment that should be protecting firefighters are causing the

                                                                  10 most harm. Further, Lion’s recently launched “Not in Our House” cancer awareness program is

                                                                  11 sadly ironic in that it encourages firefighters to make a pledge (“I will make every effort to
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                                                                  12 protect myself and my team by doing my part to take precautions that will minimize the risk of
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                                                                  13 exposure to carcinogens that may lead to cancer…”) while refusing to take any responsibility

                                                                  14 for continually exposing firefighters to carcinogens in their protective gear. 96

                                                                  15             142.     Firefighters, including FIRE MARSHAL HORTON, deserved and deserve better.

                                                                  16 They are the first to respond to emergencies faced by their community, and never hesitate to

                                                                  17 help. Whether delivering a baby, responding to a fire, medical emergency, accident, mass

                                                                  18 shooting, terrorist attack, natural disaster, or teaching kids about fire safety, firefighters always

                                                                  19 put the community first. When a child is drowning in a pool or a family is caught in a burning

                                                                  20

                                                                  21   95
                                                                            As alleged above, in para. 147, fn. 77, IAFF has only recently begun to take action related to PFAS exposure due to
                                                                  22 pressure from its firefighter members. At the IAFF Annual Meeting in January 2021, two groundbreaking PFAS-related
                                                                       firefighter safety resolutions passed with the support of 99% of the membership. The resolutions require IAFF to: (1)
                                                                  23   sponsor independent testing of turnouts for PFAS and PFAS-related hazards, (2) oppose the use of PFAS and PFAS-
                                                                       containing materials in turnouts, (3) require manufacturers to cease using PFAS in their firefighting products (4) identify
                                                                       which manufacturers will not cease using PFAS, (5) issue an advisory to fire departments to stop sending used or old
                                                                  24
                                                                       turnouts to communities that are not able to buy new gear and instead provide grants to purchase new gear, and (6) cease
                                                                       accepting financial sponsorships from any PFAS/chemical-related companies unless it is to purchase PFAS-free turnout
                                                                  25   gear. Andrew Wallender, PFAS Resolutions Overwhelmingly Approved by Firefighters’ Union, Bloomberg Law
                                                                       (February 1, 2021), https://news.bloomberglaw.com/daily-labor-report/pfas-resolutions-overwhelmingly-approved-by-
                                                                  26   firefighters-union; San Francisco Firefighters Cancer Prevention Foundation, (last visited February 26, 2021),
                                                                       https://www.sffcpf.org/resolutions-to-protect-members-from-toxic-substances-in-ppe/.
                                                                  27   96
                                                                            Rachel Zoch, Take A Pledge To Stop Cancer At the Door, Fire Rescue 1 (January 28, 2019),
                                                                       https://www.firerescue1.com/fire-products/personal-protective-equipment-ppe/articles/take-a-pledge-to-stop-cancer-at-
                                                                  28   the-door-e8bn7uAbtIXWdQau/.
                                                                                                                                  41
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                                                                   1 house, they do not stop to calculate whether they will benefit by doing the right thing. They are

                                                                   2 true public servants. They step in and do what is needed when it is needed the most. Their health,

                                                                   3 safety and well-being must be of the highest priority.

                                                                   4         143.    Based on all of the foregoing, PLAINTIFFS, bring this action for damages and for

                                                                   5 other appropriate relief sufficient to compensate them for the harm Defendants’ PFAS chemicals

                                                                   6 and PFAS-containing products have caused.

                                                                   7          EQUITABLE TOLLING OF APPLICABLE STATUE OF LIMITATIONS

                                                                   8         144.    PLAINTIFFS incorporate by reference all prior paragraphs of this complaint as

                                                                   9 though fully set forth herein.

                                                                  10         A. Fraudulent Concealment

                                                                  11         145.    Defendants have known or should have known about the hazardous toxicity,
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                                                                  12 persistence, and bioaccumulation associated with the use of PFAS and PFAS -containing
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                                                                  13 materials since at least the 1960s and as late as the early 1990s when study after study showed

                                                                  14 not only unacceptable levels of toxicity and bioaccumulation in human blood, but links to

                                                                  15 increased incidence of liver damage, various cancers and birth defects.

                                                                  16         146.    Through no fault or lack of diligence, firefighters, including FIRE MARSHAL

                                                                  17 HORTON, and PLAINTIFFS were deceived regarding the safety of turnouts and Class B foam

                                                                  18 and could not reasonably discover the hazardous toxicity, persistence, and bioaccumulation

                                                                  19 associated with the use of PFAS or PFAS-containing materials in turnouts and Class B foam,

                                                                  20 nor Defendants’ deception with respect to the hazardous toxicity, persistence, and

                                                                  21 bioaccumulation associated with the use of PFAS or PFAS-containing materials in turnouts and

                                                                  22 Class B foam.

                                                                  23         147.    PLAINTIFFS did not discover and did not know of any facts that would have

                                                                  24 caused a reasonable person to suspect that Defendants were concealing the hazardous toxicity,

                                                                  25 persistence, and bioaccumulation associated with the use of PFAS or PFAS-containing materials

                                                                  26 in turnouts and Class B foam. As alleged herein, the existence of hazardous toxicity, persistence,
                                                                  27 and bioaccumulation associated with the use of PFAS or PFAS-containing materials in turnouts

                                                                  28 and Class B foam was material to PLAINTIFFS at all relevant times.
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                                                                   1         148.   Defendants did not fully disclose the seriousness of the hazardous toxicity,

                                                                   2 persistence, and bioaccumulation associated with the use of PFAS or PFAS-containing materials

                                                                   3 in turnouts and Class B foam, but instead ignored and/or concealed the defect from firefighters,

                                                                   4 including MR. HORTON, PLAINTIFFS, or the public, and refused to provide safe alternatives to

                                                                   5 PFAS or PFAS-containing materials in turnouts and Class B foam.

                                                                   6         149.   At all times, Defendants are and were under a continuous duty to disclose to

                                                                   7 firefighters, including MR. HORTON, PLAINTIFFS, the public and their consumers, the hazardous

                                                                   8 toxicity, persistence, and bioaccumulation associated with the use of PFAS or PFAS -containing

                                                                   9 materials in turnouts and Class B foam.

                                                                  10         150.   Defendants knowingly, actively, and affirmatively concealed the facts alleged

                                                                  11 herein. Firefighters, including MR. HORTON, and PLAINTIFFS reasonably relied on
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                                                                  12 Defendants’ knowing, active, and affirmative concealment.
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                                                                  13         151.   For these reasons, any and all applicable statutes of limitations have been tolled

                                                                  14 as a consequence of Defendants’ ongoing knowledge, active concealment, and denial of the facts

                                                                  15 alleged herein.

                                                                  16         B. Estoppel

                                                                  17         152.   Defendants were and are under a continuous duty to disclose to their consumers,

                                                                  18 firefighters, including FIRE MARHSL HORTON, and PLAINTIFFS the hazardous toxicity,

                                                                  19 persistence, and bioaccumulation associated with the use of PFAS or PFAS-containing materials

                                                                  20 in Class B foam and turnouts.

                                                                  21         153.   Instead, Defendants actively concealed the hazardous toxicity, persistence, and

                                                                  22 bioaccumulation associated with the use of PFAS and PFAS-containing materials in Class B

                                                                  23 foam and turnouts; and knowingly made misrepresentations about the quality, reliability ,

                                                                  24 characteristics, safety and performance of Class B foam and turnouts.

                                                                  25         154.   Consumers, firefighters, including FIRE MARHSL HORTON, and PLAINTIFFS

                                                                  26 reasonably relied upon Defendants’ knowing and affirmative misrepresentations, and/or active
                                                                  27 concealment, of these facts.

                                                                  28         155.   Based on the foregoing, Defendants are estopped from relying on any and all
                                                                                                                    43
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                                                                   1 applicable statutes of limitations in defense of this action.

                                                                   2         C. Discovery Rule

                                                                   3         156.      Firefighters, including FIRE MARSHAL HORTON, had no ability to discern or

                                                                   4 suspect that the hazardous toxicity, persistence, and bioaccumulation associated with the use of

                                                                   5 PFAS or PFAS-containing materials in Class B foam and turnouts were a substantial cause of

                                                                   6 their injuries.

                                                                   7         157.      Accordingly, Defendants are precluded by the Discovery Rule and/or doctrine of

                                                                   8 fraudulent concealment, and/or the doctrine of estoppel from relying upon any and all applicable

                                                                   9 statutes of limitations.

                                                                  10                                    FIRST CAUSE OF ACTION

                                                                  11                             STRICT LIABILITY - DESIGN DEFECT
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                                                                  12         158.      The PLAINTIFFS assert the following cause of action against all Defendants ,
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                                                                  13 including DOES 1-100.

                                                                  14         159.      PLAINTIFFS incorporate by reference all prior paragraphs of this complaint, as

                                                                  15 though fully set forth herein.

                                                                  16         160.      Each Defendant, their predecessors-in-interest, and/or their alter egos, and/or

                                                                  17 entities they have acquired, have engaged in the business of designing, formulating,

                                                                  18 manufacturing, labeling, marketing, promoting, advertising, distributing, supplying, and/or

                                                                  19 selling of turnouts and/or Class B foam and through that conduct have knowingly placed PFAS -

                                                                  20 containing products into the stream of commerce with full knowledge that they were sold to fire

                                                                  21 departments or to companies that sold turnouts and/or Class B foam to fire departments for use

                                                                  22 by firefighters such as FIRE MARSHAL HORTON, who are exposed to PFAS through ordinary

                                                                  23 and foreseeable uses for the purpose of firefighting activities and training.

                                                                  24         161.      Defendants intended that the turnouts and/or Class B foam they were

                                                                  25 manufacturing, selling, distributing, supplying, promoting, and or selling would be used by

                                                                  26 firefighters, including FIRE MARSHAL HORTON, without any substantial change in the
                                                                  27 condition of the products from when they were initially manufactured, sold, distributed, and

                                                                  28 marketed by Defendants. Turnouts and/or Class B foam were not safe for use by firefighters
                                                                                                                     44
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                                                                   1 even when used as directed by the manufacturer and for its intended purpose for firefighting

                                                                   2 activities which include training, extinguishment, ventilation, search-and-rescue, salvage,

                                                                   3 containment, and overhaul.

                                                                   4         162.   Further, knowing of the dangerous and hazardous properties of turnouts and Class

                                                                   5 B foam, Defendants could have manufactured, marketed, distributed, and sold alternative

                                                                   6 designs or formulations of turnouts and/or Class B foam that did not contain PFAS. These

                                                                   7 alternative designs and/or formulations were already available, practical, similar in cost, and

                                                                   8 technologically feasible.

                                                                   9         163.   The use of these alternative designs would have reduced or prevented the

                                                                  10 reasonably foreseeable harm to firefighters, including FIRE MARSHAL HORTON, that was

                                                                  11 caused by the Defendants’ manufacture, marketing, and sale of turnouts and/or Class B foam
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                                                                  12 containing PFAS and PFAS-containing materials.
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                                                                  13         164.   Additionally, the turnouts and/or Class B foam that were designed, manufactured,

                                                                  14 marketed, tested, advertised, marketed, promoted, sold, and distributed by the Defendants

                                                                  15 contained PFAS or PFAS-containing materials that were so toxic and unreasonably dangerous

                                                                  16 to human health and the environment, with the toxic chemicals being so mobile and persistent,

                                                                  17 that the act of designing, formulating, manufacturing, marketing, distributing, and selling these

                                                                  18 products was unreasonably dangerous under the circumstances.

                                                                  19         165.   The turnouts and/or Class B foam designed, manufactured, marketed, tested,

                                                                  20 advertised, marketed, promoted, sold and distributed by the Defendants were dangerous and

                                                                  21 defective in design or formulation because, at the time in which the products left the hands of

                                                                  22 the manufacturer or distributors, the foreseeable risks exceeded the benefits associated with the

                                                                  23 design or formulation of turnouts and/or Class B foam.

                                                                  24         166.   The turnouts and/or Class B foam designed, manufactured, marketed, tested,

                                                                  25 advertised, marketed, promoted, sold, and distributed by the Defendants were dangerous and

                                                                  26 defective in design or formulation because, when the PFAS-containing products left the hands
                                                                  27 of the manufacturer or distributors, said products were unreasonably dangerous, unreasonably

                                                                  28 dangerous in normal use, and were more dangerous than an ordinary consumer-firefighter would
                                                                                                                    45
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                                                                   1 expect.

                                                                   2           167.   The turnouts and/or Class B foam were in a defective condition and unsafe, and

                                                                   3 Defendants knew or had reason to know that these PFAS-containing products were defective

                                                                   4 and unsafe, especially when used in the form and manner as provided by Defendants. In

                                                                   5 particular, Defendants PFAS-containing products were defective in the following ways:

                                                                   6           168.   When placed in the stream of commerce, Defendants’ PFAS-containing turnouts

                                                                   7 and/or Class B foam were defective in design and formulation and as a result failed to meet

                                                                   8 ordinary users’ expectations as to their safety and failed to perform as an ordinary use r would

                                                                   9 expect.

                                                                  10           169.   When placed in the stream of commerce, Defendants’ PFAS-containing turnouts

                                                                  11 and/or Class B foam were defective in design and formulation, and as a result, dangerous to an
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                                                                  12 extent beyond which an ordinary consumer-firefighter would anticipate.
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                                                                  13           170.   When placed in the stream of commerce, Defendants’ PFAS-containing turnouts

                                                                  14 and/or Class B foam were unreasonably dangerous in that they were hazardous and posed a grave

                                                                  15 risk of cancer and other serious illnesses when used in a reasonably anticipated manner.

                                                                  16           171.   When placed in the stream of commerce, Defendants’ PFAS-containing turnouts

                                                                  17 and/or Class B foam contained unreasonably dangerous design defects and were not reasonably

                                                                  18 safe when used in a reasonably anticipated manner.

                                                                  19           172.   When placed in the stream of commerce, Defendants’ PFAS-containing turnouts

                                                                  20 and/or Class B foam did not provide an adequate warning of the potential harm that could result

                                                                  21 from exposure to PFAS and/or emitted from the turnouts and/or Class B foam and, alternatively,

                                                                  22 did not have adequate instructions for safe use of the products.

                                                                  23           173.   Exposure to PFAS presents a risk of grave and harmful side effects and injuries

                                                                  24 that outweigh any potential utility stemming from their use.

                                                                  25           174.   Defendants knew or should have known at the time of manufacturing, selling,

                                                                  26 distributing, promoting or marketing their PFAS-containing turnouts and/or Class B foam that
                                                                  27 exposure to PFAS could result in cancer and other grave and serious illnesses and injuries as

                                                                  28 alleged herein.
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                                                                   1 ///

                                                                   2           175.   The foreseeable risk of harm could have been reduced or eliminated by the

                                                                   3 adoption of a reasonable, alternative design that was not unreasonably dangerous.

                                                                   4           176.   FIRE MARSHAL HORTON used these PFAS-containing products in the ways

                                                                   5 that Defendants intended them to be used.

                                                                   6           177.   FIRE MARSHAL HORTON used these PFAS-containing products in ways that

                                                                   7 were foreseeable to Defendants.

                                                                   8           178.   FIRE MARSHAL HORTON was exposed to PFAS by using Defendants’ turnouts

                                                                   9 and/or Class B foam in the course of their employment, as described above, without knowledge

                                                                  10 of turnouts’ and/or Class B foam’s dangerous propensities.

                                                                  11           179.   The design defect in turnouts and/or Class B foam containing PFAS exposed FIRE
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                                                                  12 MARSHAL HORTON, to toxic levels of PFAS and therefore, was a substantial factor in causing
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                                                                  13 his pre-death pain and suffering, following by his death and PLAINTIFFS’ damages as described

                                                                  14 herein.

                                                                  15           180.   As a direct and proximate result of their improper and inadequate design and

                                                                  16 formulation of turnouts and/or Class B foam containing PFAS, exposed FIRE MARSHAL

                                                                  17 HORTON to toxic levels of PFAS, which resulted in his cancer diagnosis and his ultimate death.

                                                                  18           181.   As a direct and proximate result of their inadequate warnings and instructions, the

                                                                  19 turnouts and/or Class B foam containing PFAS, exposed FIRE MARSHAL HORTON to toxic

                                                                  20 levels of PFAS, which resulted in his cancer diagnosis and his ultimate death.

                                                                  21           182.   As a direct and proximate result of Defendants’ intentional, malicious and

                                                                  22 oppressive conduct, as well as their carelessness, negligence, gross negligence, their defective

                                                                  23 products and their failure to warn of dangers associated with their defective turnouts and/or Class

                                                                  24 B foam containing PFAS, FIRE MARSHAL HORTON suffered an excruciating death after

                                                                  25 prolonged pain, fear, suffering and emotional anguish throughout his cancer treatment until the

                                                                  26 time of his death, causing his beneficiaries, including MRS. HORTON, to suffer devastating
                                                                  27 grief, injuries, emotional pain and suffering, as well as economic damages, in an amount all to

                                                                  28 their general damages in excess of Twenty-Five Thousand Dollars ($25,000.00) which will be
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                                                                   1 stated according to proof, pursuant to California Code of Civil Procedure Section 425 .10.

                                                                   2         183.    On October 1, 2021, Governor Newsom signed SB 447. SB 447 amended Code of

                                                                   3 Civil Procedure §377.34 to allow decedents’ predeath pain and suffering to be recovered in a

                                                                   4 survival action under certain circumstances, including as is the case here, in actions fi led on or

                                                                   5 after January 1, 2022.

                                                                   6         184.    As a direct and proximate result of Defendants’ intentional, malicious and

                                                                   7 oppressive conduct, as well as their carelessness, negligence, gross negligence, their defective

                                                                   8 products and their failure to warn of dangers associated with their defective turnouts and/or Class

                                                                   9 B foam containing PFAS, FIRE MARSHAL HORTON suffered an excruciating death after

                                                                  10 prolonged pain, fear, suffering and emotional anguish throughout his cancer treatment until the

                                                                  11 time of his death, causing his beneficiaries, including MRS. HORTON, to suffer devastating
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                                                                  12 grief, injuries, emotional pain and suffering, including but not limited to the loss of comfort,
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                                                                  13 society, guidance, companionship, support, love and affection in an amount all to their general

                                                                  14 damages in excess of Twenty-Five Thousand Dollars ($25,000.00) which will be stated

                                                                  15 according to proof, pursuant to California Code of Civil Procedure Section 425.10.

                                                                  16                                  SECOND CAUSE OF ACTION

                                                                  17                          STRICT LIABILITY – FAILURE TO WARN

                                                                  18         185.    The PLAINTIFFS assert the following cause of action against all Defendants,

                                                                  19 including DOES 1-100.

                                                                  20         186.    PLAINTIFFS incorporate by reference all prior paragraphs of this complaint, as

                                                                  21 though fully set forth herein.

                                                                  22         187.    Each Defendant, their predecessors-in-interest, and/or their alter egos, and/or

                                                                  23 entities they have acquired, have engaged in the business of designing, formulating,

                                                                  24 manufacturing, labeling, marketing, promoting, advertising, distributing, supplying, and/or

                                                                  25 selling of turnouts and/or Class B foam containing PFAS or PFAS-containing materials and,

                                                                  26 through that conduct, have knowingly placed PFAS-containing products into the stream of
                                                                  27 commerce with full knowledge that they were sold to fire departments or to companies that sold

                                                                  28 turnouts and/or Class B foam to fire departments for the use by firefighters such as FIRE
                                                                                                                     48
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                                                                   1 MARSHAL HORTON, who was exposed to PFAS through ordinary and foreseeable uses for the

                                                                   2 purpose of firefighting activities and training.

                                                                   3         188.    The products complained of were designed, formulated, manufactured, marketed,

                                                                   4 sold, supplied and/or distributed by each of the Defendants and used by and/or in the vicinity of

                                                                   5 FIRE MARSHAL HORTON during his lifetime and/or he was exposed to PFAS while using

                                                                   6 turnouts and/or Class B foam in the ordinary course of performing his duties as a firefighter.

                                                                   7         189.    Defendants expected that the PFAS-containing products they were manufacturing,

                                                                   8 selling, distributing, supplying, and/or promoting would reach firefighters, including FIRE

                                                                   9 MARSHAL HORTON, without any substantial change in the condition of the products from

                                                                  10 when they were initially designed, formulated, manufactured, marketed, sold, supplied and/or

                                                                  11 distributed by Defendants.
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                                                                  12         190.    Defendants knew or should have reasonably known that the manner in which they
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                                                                  13 were designing, formulating, manufacturing, marketing, selling, supplying and/or distributing

                                                                  14 turnouts and/or Class B foam containing PFAS was hazardous to human health.

                                                                  15         191.    The potential risks of using PFAS-containing products presented a substantial

                                                                  16 danger to firefighters, including FIRE MARSHAL HORTON, when the turnouts and/or Class B

                                                                  17 foam were used or worn in an intended or reasonably foreseeable way.

                                                                  18         192.    FIRE MARSHAL HORTON used Class B foam and wore turnouts in the intended

                                                                  19 or reasonably foreseeable way in the ordinary course of performing his duties as a firefighters,

                                                                  20 including for fire suppression and fire suppression training.

                                                                  21         193.    The turnouts and/or Class B foam manufactured, marketed, and sold by the

                                                                  22 Defendants were dangerous and defective because the foreseeable risk of harm could have been

                                                                  23 reduced or eliminated by the adoption of a reasonable, alternative design that was not

                                                                  24 unreasonably dangerous.

                                                                  25         194.    Defendants’ products were in a defective condition and unreasonably dangerous,

                                                                  26 in that turnouts and/or Class B foam which, by design, contain PFAS or PFAS -containing
                                                                  27 products, are deleterious, toxic, and highly harmful to firefighters, including FIRE MARSHAL

                                                                  28 HORTON.
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                                                                   1         195.   Defendants knew or should have reasonably known that exposure to PFAS was

                                                                   2 hazardous to human health, but:

                                                                   3            a. Did not provide an adequate warning of the potential harm that could result

                                                                   4                from exposure to PFAS or PFAS-containing materials in turnouts and/or

                                                                   5                Class B foam;

                                                                   6            b. Did not have adequate instructions for safe use of the products;

                                                                   7            c. Did not have warnings to persons, such as FIRE MARSHAL HORTON,

                                                                   8                who had been, or reasonably may have been, exposed to Defendants'

                                                                   9                turnouts and/or Class B foam, of their disease potential, the proper steps to

                                                                  10                take to reduce the harmful effects of previous exposure, the need to have

                                                                  11                periodic medical examinations including the giving of histories which
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                                                                  12                revealed the details of the previous exposure, and the need to have
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                                                                  13                immediate and vigorous medical treatment for all related adverse health

                                                                  14                effects;

                                                                  15            d. Did not manufacture, market, promote, distribute or sell reasonably

                                                                  16                comparable products not containing PFAS when it became feasible to

                                                                  17                design.

                                                                  18         196.   At the time of design, formulation, manufacture, marketing, promotion, sale,

                                                                  19 supply and/or distribution, Defendants could have provided warnings or instructions regarding

                                                                  20 the full and complete risks of turnouts and/or Class B foam containing PFAS or PFAS-containing

                                                                  21 materials, because Defendants knew or should have known of the unreasonable risks of harm

                                                                  22 associated with the use of and/or exposure to such products.

                                                                  23         197.   At all relevant time, Defendants’ turnouts and/or Class B foam did not contain an

                                                                  24 adequate warning or caution statement, which was necessary.

                                                                  25         198.   FIRE MARSHAL HORTON was unaware of the defective and unreasonable

                                                                  26 dangers of Defendants' products at a time when such products were being used for the purposes
                                                                  27 for which they were intended, and FIRE MARSHAL HORTON was exposed to PFAS released

                                                                  28 from the Defendants’ turnouts and/or Class B foam.
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                                                                   1         199.    FIRE MARSHAL HORTON did not and could not have known that the use of

                                                                   2 turnouts and/or Class B foam in the ordinary course of performing their duties as firefighters

                                                                   3 could be hazardous to their health, including but not limited to bio-accumulate in the blood, and

                                                                   4 cause serious health effects, including cancer.

                                                                   5         200.    Defendants knew that the use of turnouts and/or Class B foam, even when used as

                                                                   6 instructed by Defendants, subjected FIRE MARSHAL HORTON and others to a substantial risk

                                                                   7 of harm and yet, failed to adequately warn firefighters, including FIRE MARSHAL HORTON,

                                                                   8 the EPA, their consumers or the public.

                                                                   9         201.    As a result of their inadequate warnings, Defendants’ turnouts and/or Class B

                                                                  10 foam were defective and unreasonably dangerous when they left the possession and/or control

                                                                  11 of Defendants, were distributed by Defendants, and used or worn by firefighters, including by
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                                                                  12 FIRE MARSHAL HORTON.
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                                                                  13         202.    The lack of adequate and sufficient warnings was a substantial factor in causing

                                                                  14 the FIRE MARSHAL HORTON’s pre-death pain and suffering, followed by his death and

                                                                  15 PLAINTIFFS’ damages as described herein.

                                                                  16         203.    As a direct and proximate result of their improper and inadequate design and

                                                                  17 formulation of turnouts and/or Class B foam containing PFAS, exposed FIRE MARSHAL

                                                                  18 HORTON to toxic levels of PFAS, which resulted in his cancer diagnosis and his ultimate death.

                                                                  19         204.    As a direct and proximate result of their inadequate warnings and instructions, the

                                                                  20 turnouts and/or Class B foam containing PFAS, exposed FIRE MARSHAL HORTON to toxic

                                                                  21 levels of PFAS, which resulted in his cancer diagnosis and his ultimate death.

                                                                  22         205.    As a direct and proximate result of Defendants’ intentional, malicious and

                                                                  23 oppressive conduct, as well as their carelessness, negligence, gross negligence, their defective

                                                                  24 products and their failure to warn of dangers associated with their defective turnouts and/or Class

                                                                  25 B foam containing PFAS, FIRE MARSHAL HORTON suffered an excruciating death after

                                                                  26 prolonged pain, fear, suffering and emotional anguish throughout his cancer treatment until the
                                                                  27 time of his death, causing his beneficiaries, including MRS. HORTON, to suffer devastating

                                                                  28 grief, injuries, emotional pain and suffering, as well as economic damages, in an amount all to
                                                                                                                       51
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                                                                   1 their general damages in excess of Twenty-Five Thousand Dollars ($25,000.00) which will be

                                                                   2 stated according to proof, pursuant to California Code of Civil Procedure Section 425.10.

                                                                   3         206.    On October 1, 2021, Governor Newsom signed SB 447. SB 447 amended Code of

                                                                   4 Civil Procedure §377.34 to allow decedents’ predeath pain and suffering to be recovered in a

                                                                   5 survival action under certain circumstances, including as is the case here, in actions fi led on or

                                                                   6 after January 1, 2022.

                                                                   7         207.    As a direct and proximate result of Defendants’ intentional, malicious and

                                                                   8 oppressive conduct, as well as their carelessness, negligence, gross negligence, their defective

                                                                   9 products and their failure to warn of dangers associated with their defective turnouts and/or Class

                                                                  10 B foam containing PFAS, FIRE MARSHAL HORTON suffered an excruciating death after

                                                                  11 prolonged pain, fear, suffering and emotional anguish throughout his cancer treatment until the
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                                                                  12 time of his death, causing his beneficiaries, including MRS. HORTON, to suffer devastating
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                                                                  13 grief, injuries, emotional pain and suffering, including but not limited to the loss of comfort,

                                                                  14 society, guidance, companionship, support, love and affection in an amount all to their general

                                                                  15 damages in excess of Twenty-Five Thousand Dollars ($25,000.00) which will be stated

                                                                  16 according to proof, pursuant to California Code of Civil Procedure Section 425.10.

                                                                  17                                  THIRD CAUSE OF ACTION

                                                                  18                                          NEGLIGENCE

                                                                  19         208.    The PLAINTIFFS assert the following cause of action against all Defendants ,

                                                                  20 including DOES 1-100.

                                                                  21         209.    PLAINTIFFS incorporate by reference all prior paragraphs of this complaint as

                                                                  22 though fully set forth herein.

                                                                  23         210.    Defendants owed a duty of care to their consumer, customers, including the

                                                                  24 firefighters such as FIRE MARSHAL HORTON, and PLAINTIFFS that were commensurate

                                                                  25 with the inherently dangerous, harmful, injurious, bio-persistent, environmentally-persistent,

                                                                  26 toxic, and bio-accumulative nature of Class B foam and turnouts containing PFAS or PFAS -
                                                                  27 containing materials.

                                                                  28         211.    Defendants had a duty to exercise reasonable care in the design, research, testing,
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                                                                   1 manufacture, marketing, formulation, supply, promotion, sale, labeling, training of users,

                                                                   2 production of information materials, use and/or distribution of Class B foam and/or turnouts into

                                                                   3 the stream of commerce, including a duty of care to ensure the PFAS did not infiltrate, persist

                                                                   4 in, accumulate in the blood and/or bodies of the firefighters, including FIRE MARSHAL

                                                                   5 HORTON, and including a duty to assure their products would not cause users to suffer

                                                                   6 unreasonable, dangerous side effects.

                                                                   7           212.   Defendants had a duty to exercise reasonable care to ensure that Class B foam

                                                                   8 and/or turnouts were manufactured, marketed, and sold in such a way as to ensure that the end

                                                                   9 users of Class B foam and/or turnouts were aware of the potential harm PFAS can caus e to

                                                                  10 human health, and were advised to use it in such a way that would not be hazardous to their

                                                                  11 health.
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                                                                  12           213.   Defendants had a duty to warn of the hazards associated with PFAS and PFAS -
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                                                                  13 containing materials and were in the best position to provide adequate instructions, proper

                                                                  14 labeling, and sufficient warnings about the Class B foam and/or turnouts. However, Defend ants

                                                                  15 knowingly and intentionally failed to do so.

                                                                  16           214.   Defendants failed to exercise ordinary care in the designing, researching, testing,

                                                                  17 manufacturing, formulating, marketing, testing, promotion, supply, sale, and/or distribution of

                                                                  18 their PFAS chemicals and PFAS-containing products in the regular course of business, in that

                                                                  19 Defendants knew or should have known that use and exposure to PFAS and PFAS -containing

                                                                  20 materials was hazardous to human health and created a high risk of unreasonable, dangerous

                                                                  21 side effects, including but not limited to severe personal injuries, as described herein.

                                                                  22           215.   Defendants also knew or should have known that the manner in which they were

                                                                  23 designing, formulating, manufacturing, marketing, promoting, distributing, and/or selling Class

                                                                  24 B foam and/or turnouts containing PFAS or PFAS-containing materials was hazardous to human

                                                                  25 health, bio-accumulated in the blood, and caused serious health effects, including cancer.

                                                                  26           216.   Defendants    negligently     and    deceptively   underreported,   underestimated,
                                                                  27 downplayed the serious health dangers of the Class B foam and/or turnouts products.

                                                                  28           217.   Defendants negligently, carelessly and recklessly recommended application and
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                                                                   1 disposal techniques for PFAS and/or for products containing PFAS that directly and proximately

                                                                   2 caused harm to FIRE MARSHAL HORTON and PLAINTIFFS.

                                                                   3         218.    Defendants knew or should have known that firefighters working with and using

                                                                   4 Class B foam and/or turnouts products would be exposed to PFAS.

                                                                   5         219.    At all times material, FIRE MARSHAL HORTON inhaled, ingested and/or

                                                                   6 absorbed dermally hazardous PFAS contaminants released from the Defendants’ Class B foam

                                                                   7 and/or turnouts.

                                                                   8         220.    FIRE MARSHAL HORTON’s exposure to Defendant’s Class B foam and/or

                                                                   9 turnouts, which were connected to and incidental to Defendants’ manufacture, design, sale,

                                                                  10 supply and/or distribution of its PFAS-containing products, was harmful and substantially

                                                                  11 increased the risk of injuries to FIRE MARSHAL HORTON, and did cause injuries to FIRE
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                                                                  12 MARSHAL HORTON, including his ultimate death.
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                                 LOS ANGELES, CA 90049




                                                                  13         221.    Defendants knew or should have known that the manner in which they were

                                                                  14 manufacturing, marketing, distributing and selling Class B foam and/or turnouts containing

                                                                  15 PFAS or PFAS-containing materials would result in harm to firefighters, including to FIRE

                                                                  16 MARSHAL HORTON, as a result of using Class B foam and/or turnouts in the ordinary course

                                                                  17 of performing their duties as firefighters.

                                                                  18         222.    Defendants knew, foresaw, anticipated, and/or should have foreseen, anticipated,

                                                                  19 and/or known that the design, engineering, manufacture, fabrication, sale, release, handling, use,

                                                                  20 and/or distribution of PFAS or PFAS-containing materials in Class B foam and turnouts, and/or

                                                                  21 Defendants’ other acts and/or omissions as described in this complaint, could likely result in

                                                                  22 PFAS exposure to firefighters, including to FIRE MARSHAL HORTON, the persistence and

                                                                  23 accumulation of toxic and harmful PFAS in their blood and/or bodies, and cause injuries to

                                                                  24 firefighters, including to FIRE MARSHAL HORTON, as herein alleged.

                                                                  25         223.    Despite knowing, anticipating, and/or foreseeing the bio-persistent, bio-

                                                                  26 accumulative, toxic, and/or otherwise harmful and/or injurious nature of PFAS materials,
                                                                  27 Defendants, their agents, servants, and/or employees, committed negligent acts and/or omissio ns

                                                                  28 that resulted in PFAS exposure to firefighters, including FIRE MARSHAL HORTON.
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                                                                   1           224.   Defendants, through their acts and/or omissions as described in this complaint,

                                                                   2 breached their duties to FIRE MARSHAL HORTON.

                                                                   3           225.   It was reasonably foreseeable to Defendants that firefighters, including FIRE

                                                                   4 MARSHAL HORTON would likely suffer the injuries and harm described in this complaint by

                                                                   5 virtue of Defendants’ breach of their duty and failure to exercise ordinary care, as described

                                                                   6 herein.

                                                                   7           226.   As a direct and proximate result of their foregoing acts, omissions and negligence,

                                                                   8 FIRE MARSHAL HORTON was exposed to toxic levels of PFAS, which resulted in his cancer

                                                                   9 diagnosis and his ultimate death.

                                                                  10           227.   As a direct and proximate result of their foregoing acts, omissions and negligence

                                                                  11 and inadequate warnings and instructions, the turnouts and/or Class B foam containing PFAS,
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                                                                  12 exposed FIRE MARSHAL HORTON to toxic levels of PFAS, which resulted in his cancer
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                                                                  13 diagnosis and his ultimate death.

                                                                  14           228.   As a direct and proximate result of Defendants’ negligence, their defective

                                                                  15 products and their failure to warn of dangers associated with their defective turnouts and/or Class

                                                                  16 B foam containing PFAS, FIRE MARSHAL HORTON suffered an excruciating death after

                                                                  17 prolonged pain, fear, suffering and emotional anguish throughout his cancer treatment until the

                                                                  18 time of his death, causing his beneficiaries, including MRS. HORTON, to suffer devastating

                                                                  19 grief, injuries, emotional pain and suffering, as well as economic damages, in an amount all to

                                                                  20 their general damages in excess of Twenty-Five Thousand Dollars ($25,000.00) which will be

                                                                  21 stated according to proof, pursuant to California Code of Civil Procedure Section 425.10.

                                                                  22           229.   On October 1, 2021, Governor Newsom signed SB 447. SB 447 amended Code of

                                                                  23 Civil Procedure §377.34 to allow decedents’ predeath pain and suffering to be recovered in a

                                                                  24 survival action under certain circumstances, including as is the case here, in actions fi led on or

                                                                  25 after January 1, 2022.

                                                                  26           230.   As a direct and proximate result of Defendants’ negligence, their defective
                                                                  27 products and their failure to warn of dangers associated with their defective turnouts and/or Class

                                                                  28 B foam containing PFAS, FIRE MARSHAL HORTON suffered an excruciating death after
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                                                                   1 prolonged pain, fear, suffering and emotional anguish throughout his cancer treatment until the

                                                                   2 time of his death, causing his beneficiaries, including MRS. HORTON, to suffer devastating

                                                                   3 grief, injuries, emotional pain and suffering, including but not limited to the loss of comfort,

                                                                   4 society, guidance, companionship, support, love and affection in an amount all to their general

                                                                   5 damages in excess of Twenty-Five Thousand Dollars ($25,000.00) which will be stated

                                                                   6 according to proof, pursuant to California Code of Civil Procedure Section 425.10.

                                                                   7                                  FOURTH CAUSE OF ACTION

                                                                   8                                       WRONGFUL DEATH

                                                                   9         231.    The PLAINTIFFS assert the following cause of action against all Defendants ,

                                                                  10 including DOES 1-100.

                                                                  11         232.    PLAINTIFFS incorporate by reference all prior paragraphs of this complaint, as
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                                                                  12 though fully set forth herein.
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                                                                  13         233.    Each Defendant, their predecessors-in-interest, and/or their alter egos, and/or

                                                                  14 entities they have acquired, have engaged in the business of designing, formulating,

                                                                  15 manufacturing, labeling, marketing, promoting, advertising, distributing, supplying, and/or

                                                                  16 selling of turnouts and/or Class B foam containing PFAS or PFAS-containing materials and,

                                                                  17 through that conduct, have knowingly placed PFAS-containing products into the stream of

                                                                  18 commerce with full knowledge that they were sold to fire departments or to companies that sold

                                                                  19 turnouts and/or Class B foam to fire departments for the use by firefighters such as FIRE

                                                                  20 MARSHAL HORTON, who was exposed to PFAS through ordinary and foreseeable uses for the

                                                                  21 purpose of firefighting activities and training.

                                                                  22         234.    The products complained of were designed, formulated, manufactured, marketed,

                                                                  23 sold, supplied and/or distributed by each of the Defendants and used by and/or in the vicinity of

                                                                  24 FIRE MARSHAL HORTON during his lifetime and/or he was exposed to PFAS while using

                                                                  25 turnouts and/or Class B foam in the ordinary course of performing his duties as a firefighter.

                                                                  26         235.    Defendants expected that the PFAS-containing products they were manufacturing,
                                                                  27 selling, distributing, supplying, and/or promoting would reach firefighters, including FIRE

                                                                  28 MARSHAL HORTON, without any substantial change in the condition of the products from
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                                                                   1 when they were initially designed, formulated, manufactured, marketed, sold, supplied and/or

                                                                   2 distributed by Defendants.

                                                                   3         236.   Defendants knew or should have reasonably known that the manner in which they

                                                                   4 were designing, formulating, manufacturing, marketing, selling, supplying and/or distributing

                                                                   5 turnouts and/or Class B foam containing PFAS was hazardous to human health.

                                                                   6         237.   The potential risks of using PFAS-containing products presented a substantial

                                                                   7 danger to firefighters, including FIRE MARSHAL HORTON, when the turnouts and/or Class B

                                                                   8 foam were used or worn in an intended or reasonably foreseeable way.

                                                                   9         238.   FIRE MARSHAL HORTON used Class B foam and wore turnouts in the intended

                                                                  10 or reasonably foreseeable way in the ordinary course of performing his duties as a firefighters,

                                                                  11 including for fire suppression and fire suppression training.
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                                                                  12         239.   The turnouts and/or Class B foam manufactured, marketed, and sold by the
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                                 LOS ANGELES, CA 90049




                                                                  13 Defendants were dangerous and defective because the foreseeable risk of harm could have been

                                                                  14 reduced or eliminated by the adoption of a reasonable, alternative design that was not

                                                                  15 unreasonably dangerous.

                                                                  16         240.   Defendants’ products were in a defective condition and unreasonably dangerous,

                                                                  17 in that turnouts and/or Class B foam which, by design, contain PFAS or PFAS -containing

                                                                  18 products, are deleterious, toxic, and highly harmful to firefighters, including FIRE MARSHAL

                                                                  19 HORTON.

                                                                  20         241.   Defendants knew or should have reasonably known that exposure to PFAS was

                                                                  21 hazardous to human health, but:

                                                                  22             a. Did not provide an adequate warning of the potential harm that could result

                                                                  23                from exposure to PFAS or PFAS-containing materials in turnouts and/or

                                                                  24                Class B foam;

                                                                  25             b. Did not have adequate instructions for safe use of the products;

                                                                  26             c. Did not have warnings to persons, such as FIRE MARSHAL HORTON,
                                                                  27                who had been, or reasonably may have been, exposed to Defendants'

                                                                  28                turnouts and/or Class B foam, of their disease potential, the proper steps to
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                                                                   1                take to reduce the harmful effects of previous exposure, the need to have

                                                                   2                periodic medical examinations including the giving of histories which

                                                                   3                revealed the details of the previous exposure, and the need to have

                                                                   4                immediate and vigorous medical treatment for all related adverse health

                                                                   5                effects;

                                                                   6             d. Did not manufacture, market, promote, distribute or sell reasonably

                                                                   7                comparable products not containing PFAS when it became feasible to

                                                                   8                design.

                                                                   9         242.   At the time of design, formulation, manufacture, marketing, promotion, sale,

                                                                  10 supply and/or distribution, Defendants could have provided warnings or instructions regarding

                                                                  11 the full and complete risks of turnouts and/or Class B foam containing PFAS or PFAS-containing
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                                                                  12 materials, because Defendants knew or should have known of the unreasonable risks of harm
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                                                                  13 associated with the use of and/or exposure to such products.

                                                                  14         243.   At all relevant time, Defendants’ turnouts and/or Class B foam did not contain an

                                                                  15 adequate warning or caution statement, which was necessary.

                                                                  16         244.   FIRE MARSHAL HORTON was unaware of the defective and unreasonable

                                                                  17 dangers of Defendants' products at a time when such products were being used for the purposes

                                                                  18 for which they were intended, and FIRE MARSHAL HORTON was exposed to PFAS released

                                                                  19 from the Defendants’ turnouts and/or Class B foam.

                                                                  20         245.   FIRE MARSHAL HORTON did not and could not have known that the use of

                                                                  21 turnouts and/or Class B foam in the ordinary course of performing their duties as firefighters

                                                                  22 could be hazardous to their health, including but not limited to bio-accumulate in the blood, and

                                                                  23 cause serious health effects, including cancer.

                                                                  24         246.   Defendants knew that the use of turnouts and/or Class B foam, even when used as

                                                                  25 instructed by Defendants, subjected FIRE MARSHAL HORTON and others to a substantial risk

                                                                  26 of harm and yet, failed to adequately warn firefighters, including FIRE MARSHAL HORTON,
                                                                  27 the EPA, their consumers or the public.

                                                                  28         247.   As a result of their inadequate warnings, Defendants’ turnouts and/or Class B
                                                                                                                       58
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                                                                   1 foam were defective and unreasonably dangerous when they left the possession and/or control

                                                                   2 of Defendants, were distributed by Defendants, and used or worn by firefighters, including by

                                                                   3 FIRE MARSHAL HORTON.

                                                                   4         248.    The lack of adequate and sufficient warnings was a substantial factor in causing

                                                                   5 the FIRE MARSHAL HORTON’s pre-death pain and suffering, followed by his death and

                                                                   6 PLAINTIFFS’ damages as described herein.

                                                                   7         249.    As a direct and proximate result of their improper and inadequate design and

                                                                   8 formulation of turnouts and/or Class B foam containing PFAS, exposed FIRE MARSHAL

                                                                   9 HORTON to toxic levels of PFAS, which resulted in his cancer diagnosis and his ultimate death.

                                                                  10         250.    As a direct and proximate result of their inadequate warnings and instructions, the

                                                                  11 turnouts and/or Class B foam containing PFAS, exposed FIRE MARSHAL HORTON to toxic
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                                                                  12 levels of PFAS, which resulted in his cancer diagnosis and his ultimate death.
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                                                                  13         251.    As a direct and proximate result of Defendants’ intentional, malicious and

                                                                  14 oppressive conduct, as well as their carelessness, negligence, gross negligence, their defective

                                                                  15 products and their failure to warn of dangers associated with their defective turnouts and/or Class

                                                                  16 B foam containing PFAS, FIRE MARSHAL HORTON suffered an excruciating death after

                                                                  17 prolonged pain, fear, suffering and emotional anguish throughout his cancer treatment until the

                                                                  18 time of his death, causing his beneficiaries, including MRS. HORTON, to suffer devastating

                                                                  19 grief, injuries, emotional pain and suffering, as well as economic damages, in an amount all to

                                                                  20 their general damages in excess of Twenty-Five Thousand Dollars ($25,000.00) which will be

                                                                  21 stated according to proof, pursuant to California Code of Civil Procedure Section 425.10.

                                                                  22         252.    On October 1, 2021, Governor Newsom signed SB 447. SB 447 amended Code of

                                                                  23 Civil Procedure §377.34 to allow decedents’ predeath pain and suffering to be recovered in a

                                                                  24 survival action under certain circumstances, including as is the case here, in actions fi led on or

                                                                  25 after January 1, 2022.

                                                                  26         253.    As a direct and proximate result of Defendants’ intentional, malicious and
                                                                  27 oppressive conduct, as well as their carelessness, negligence, gross negligence, their defective

                                                                  28 products and their failure to warn of dangers associated with their defective turnouts and/or Class
                                                                                                                     59
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                                                                   1 B foam containing PFAS, FIRE MARSHAL HORTON suffered an excruciating death after

                                                                   2 prolonged pain, fear, suffering and emotional anguish throughout his cancer treatment until the

                                                                   3 time of his death, causing his beneficiaries, including MRS. HORTON, to suffer devastating

                                                                   4 grief, injuries, emotional pain and suffering, including but not limited to the loss of comfort,

                                                                   5 society, guidance, companionship, support, love and affection in an amount all to their general

                                                                   6 damages in excess of Twenty-Five Thousand Dollars ($25,000.00) which will be stated

                                                                   7 according to proof, pursuant to California Code of Civil Procedure Section 425.10.

                                                                   8                                    FIFHT CAUSE OF ACTION

                                                                   9                                       SURVIVAL ACTION

                                                                  10         254.    The PLAINTIFFS assert the following cause of action against all Defendants ,

                                                                  11 including DOES 1-100.
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                                                                  12         255.    PLAINTIFFS incorporate by reference all prior paragraphs of this complaint, as
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                                                                  13 though fully set forth herein.

                                                                  14         256.    Each Defendant, their predecessors-in-interest, and/or their alter egos, and/or

                                                                  15 entities they have acquired, have engaged in the business of designing, formulating,

                                                                  16 manufacturing, labeling, marketing, promoting, advertising, distributing, supplying, and/or

                                                                  17 selling of turnouts and/or Class B foam containing PFAS or PFAS-containing materials and,

                                                                  18 through that conduct, have knowingly placed PFAS-containing products into the stream of

                                                                  19 commerce with full knowledge that they were sold to fire departments or to companies that sold

                                                                  20 turnouts and/or Class B foam to fire departments for the use by firefighters such as FIRE

                                                                  21 MARSHAL HORTON, who was exposed to PFAS through ordinary and foreseeable uses for the

                                                                  22 purpose of firefighting activities and training.

                                                                  23         257.    The products complained of were designed, formulated, manufactured, marketed,

                                                                  24 sold, supplied and/or distributed by each of the Defendants and used by and/or in the vicinity of

                                                                  25 FIRE MARSHAL HORTON during his lifetime and/or he was exposed to PFAS while using

                                                                  26 turnouts and/or Class B foam in the ordinary course of performing his duties as a firefighter.
                                                                  27         258.    Defendants expected that the PFAS-containing products they were manufacturing,

                                                                  28 selling, distributing, supplying, and/or promoting would reach firefighters, including FIRE
                                                                                                                        60
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                                                                   1 MARSHAL HORTON, without any substantial change in the condition of the products from

                                                                   2 when they were initially designed, formulated, manufactured, marketed, sold, supplied and/or

                                                                   3 distributed by Defendants.

                                                                   4         259.   Defendants knew or should have reasonably known that the manner in which they

                                                                   5 were designing, formulating, manufacturing, marketing, selling, supplying and/or distributing

                                                                   6 turnouts and/or Class B foam containing PFAS was hazardous to human health.

                                                                   7         260.   The potential risks of using PFAS-containing products presented a substantial

                                                                   8 danger to firefighters, including FIRE MARSHAL HORTON, when the turnouts and/or Class B

                                                                   9 foam were used or worn in an intended or reasonably foreseeable way.

                                                                  10         261.   FIRE MARSHAL HORTON used Class B foam and wore turnouts in the intended

                                                                  11 or reasonably foreseeable way in the ordinary course of performing his duties as a firefighters,
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                                                                  12 including for fire suppression and fire suppression training.
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                                                                  13         262.   The turnouts and/or Class B foam manufactured, marketed, and sold by the

                                                                  14 Defendants were dangerous and defective because the foreseeable risk of harm could have been

                                                                  15 reduced or eliminated by the adoption of a reasonable, alternative design that was not

                                                                  16 unreasonably dangerous.

                                                                  17         263.   Defendants’ products were in a defective condition and unreasonably dangerous,

                                                                  18 in that turnouts and/or Class B foam which, by design, contain PFAS or PFAS -containing

                                                                  19 products, are deleterious, toxic, and highly harmful to firefighters, including FIRE MARSHAL

                                                                  20 HORTON.

                                                                  21         264.   Defendants knew or should have reasonably known that exposure to PFAS was

                                                                  22 hazardous to human health, but:

                                                                  23             a. Did not provide an adequate warning of the potential harm that could result

                                                                  24                from exposure to PFAS or PFAS-containing materials in turnouts and/or

                                                                  25                Class B foam;

                                                                  26             b. Did not have adequate instructions for safe use of the products;
                                                                  27             c. Did not have warnings to persons, such as FIRE MARSHAL HORTON,

                                                                  28                who had been, or reasonably may have been, exposed to Defendants'
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                                                                   1                turnouts and/or Class B foam, of their disease potential, the proper steps to

                                                                   2                take to reduce the harmful effects of previous exposure, the need to have

                                                                   3                periodic medical examinations including the giving of histories which

                                                                   4                revealed the details of the previous exposure, and the need to have

                                                                   5                immediate and vigorous medical treatment for all related adverse health

                                                                   6                effects;

                                                                   7             d. Did not manufacture, market, promote, distribute or sell reasonably

                                                                   8                comparable products not containing PFAS when it became feasible to

                                                                   9                design.

                                                                  10         265.   At the time of design, formulation, manufacture, marketing, promotion, sale,

                                                                  11 supply and/or distribution, Defendants could have provided warnings or instructions regarding
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                                                                  12 the full and complete risks of turnouts and/or Class B foam containing PFAS or PFAS-containing
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                                                                  13 materials, because Defendants knew or should have known of the unreasonable risks of harm

                                                                  14 associated with the use of and/or exposure to such products.

                                                                  15         266.   At all relevant time, Defendants’ turnouts and/or Class B foam did not contain an

                                                                  16 adequate warning or caution statement, which was necessary.

                                                                  17         267.   FIRE MARSHAL HORTON was unaware of the defective and unreasonable

                                                                  18 dangers of Defendants' products at a time when such products were being used for the purposes

                                                                  19 for which they were intended, and FIRE MARSHAL HORTON was exposed to PFAS released

                                                                  20 from the Defendants’ turnouts and/or Class B foam.

                                                                  21         268.   FIRE MARSHAL HORTON did not and could not have known that the use of

                                                                  22 turnouts and/or Class B foam in the ordinary course of performing their duties as firefighters

                                                                  23 could be hazardous to their health, including but not limited to bio-accumulate in the blood, and

                                                                  24 cause serious health effects, including cancer.

                                                                  25         269.   Defendants knew that the use of turnouts and/or Class B foam, even when used as

                                                                  26 instructed by Defendants, subjected FIRE MARSHAL HORTON and others to a substantial risk
                                                                  27 of harm and yet, failed to adequately warn firefighters, including FIRE MARSHAL HORTON,

                                                                  28 the EPA, their consumers or the public.
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                                                                   1         270.    As a result of their inadequate warnings, Defendants’ turnouts and/or Class B

                                                                   2 foam were defective and unreasonably dangerous when they left the possession and/or control

                                                                   3 of Defendants, were distributed by Defendants, and used or worn by firefighters, including by

                                                                   4 FIRE MARSHAL HORTON.

                                                                   5         271.    The lack of adequate and sufficient warnings was a substantial factor in causing

                                                                   6 the FIRE MARSHAL HORTON’s pre-death pain and suffering, followed by his death and

                                                                   7 PLAINTIFFS’ damages as described herein.

                                                                   8         272.    As a direct and proximate result of their improper and inadequate design and

                                                                   9 formulation of turnouts and/or Class B foam containing PFAS, exposed FIRE MARSHAL

                                                                  10 HORTON to toxic levels of PFAS, which resulted in his cancer diagnosis and his ultimate death.

                                                                  11         273.    As a direct and proximate result of their inadequate warnings and instructions, the
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                                                                  12 turnouts and/or Class B foam containing PFAS, exposed FIRE MARSHAL HORTON to toxic
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                                                                  13 levels of PFAS, which resulted in his cancer diagnosis and his ultimate death.

                                                                  14         274.    As a direct and proximate result of Defendants’ intentional, malicious and

                                                                  15 oppressive conduct, as well as their carelessness, negligence, gross negligence, their defective

                                                                  16 products and their failure to warn of dangers associated with their defective turnouts and/or Class

                                                                  17 B foam containing PFAS, FIRE MARSHAL HORTON suffered an excruciating death after

                                                                  18 prolonged pain, fear, suffering and emotional anguish throughout his cancer treatment until the

                                                                  19 time of his death, causing his beneficiaries, including MRS. HORTON, to suffer devastating

                                                                  20 grief, injuries, emotional pain and suffering, as well as economic damages, in an amount all to

                                                                  21 their general damages in excess of Twenty-Five Thousand Dollars ($25,000.00) which will be

                                                                  22 stated according to proof, pursuant to California Code of Civil Procedure Section 425.10.

                                                                  23         275.    On October 1, 2021, Governor Newsom signed SB 447. SB 447 amended Code of

                                                                  24 Civil Procedure §377.34 to allow decedents’ predeath pain and suffering to be recovered in a

                                                                  25 survival action under certain circumstances, including as is the case here, in actions fi led on or

                                                                  26 after January 1, 2022.
                                                                  27         276.    As MR. HORTON’s sole successor, MRS. HORTON seeks all damages permitted

                                                                  28 under survival claims, including, but not limited to those set forth in California Code of Civil
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                                                                   1 Procedure § 377.10, et seq. MRS. HORTON succeeds to all damages related to those causes of action,

                                                                   2 as well as any other claims as MRS. HORTON may have as MR. HORTON’s successor.

                                                                   3         277.    As a direct and proximate result of Defendants’ intentional, malicious and

                                                                   4 oppressive conduct, as well as their carelessness, negligence, gross negligence, their defective

                                                                   5 products and their failure to warn of dangers associated with their defective turnouts and/or Class

                                                                   6 B foam containing PFAS, FIRE MARSHAL HORTON suffered an excruciating death after

                                                                   7 prolonged pain, fear, suffering and emotional anguish throughout his cancer treatment until the

                                                                   8 time of his death, causing his beneficiaries, including MRS. HORTON, to suffer devastating

                                                                   9 grief, injuries, emotional pain and suffering, including but not limited to the loss of comfort,

                                                                  10 society, guidance, companionship, support, love and affection in an amount all to their general

                                                                  11 damages in excess of Twenty-Five Thousand Dollars ($25,000.00) which will be stated
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                                                                  12 according to proof, pursuant to California Code of Civil Procedure Section 425.10.
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                                                                  13                                  SIXTH CAUSE OF ACTION

                                                                  14                                    LOSS OF CONSORTIUM

                                                                  15         278.    The PLAINTIFFS assert the following cause of action against all Defendants,

                                                                  16 including DOES 1-100.

                                                                  17         279.    This cause of action is asserted against all Defendants on behalf of Plaintiff

                                                                  18 KAYLA DAVIS HORTON, (hereinafter “MRS. HORTON” as previously defined in paragraph).

                                                                  19         280.    Plaintiff MRS. HORTON incorporates by reference all prior paragraphs of this

                                                                  20 complaint, as though fully set forth herein.

                                                                  21         281.    MRS. HORTON and FIRE MARSHAL HORTON were lawfully married up to

                                                                  22 the time of FIRE MARSHAL HORTON’s death.

                                                                  23         282.    As alleged above, and as a result of the Defendants’ conduct, FIRE MARSHAL

                                                                  24 HORTON suffered prolonged battle with cancer, pre-death pain and suffering and ultimately

                                                                  25 died from cancer.

                                                                  26         283.    As a proximate result of her husbands’ injuries sustained from the exposure and
                                                                  27 use of Class B foam and/or turnouts in the ordinary course of performing his firefighting duties,

                                                                  28 MRS. HORTON was deprived of love, companionship, comfort, care, assistance, protection,
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                                                                   1 affection, society, moral support, sexual relations and conjugal fellowship, during her husbands’

                                                                   2 illnesses, and treatment, and since his death, which deprivation has caused, continues to cause,

                                                                   3 and in the future is expected to cause MRS. HORTON emotional distress, loss of consortium,

                                                                   4 love, society, comfort and affection, and has thereby sustained pecuniary losses, which losses

                                                                   5 will be stated according to proof at trial.

                                                                   6                                     PRAYER FOR RELIEF

                                                                   7         WHEREFORE, Plaintiffs respectfully prays that this Court grant the following relief:

                                                                   8         1. For special damages according to proof;

                                                                   9         2. For general damages according to proof;

                                                                  10         3. For punitive damages on behalf of the successor in interest to the HORTON

                                                                  11             ESTATE.
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                                                                  12         4. For prejudgment interest, according to proof;
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                                                                  13         5. For costs of suit incurred herein; and

                                                                  14         6. For such other and further relief as the court may deem just and proper.

                                                                  15

                                                                  16 DATED: November 1, 2024                   BALABAN & SPIELBERGER, LLP

                                                                  17
                                                                                                               By:
                                                                  18
                                                                                                                     Daniel K. Balaban
                                                                  19                                                 Andrew J. Spielberger
                                                                                                                     Kahren Harutyunyan
                                                                  20                                                 Attorneys for Plaintiff, KAYLA DAVIS HORTON

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                                                                   1                                  DEMAND FOR JURY TRIAL

                                                                   2         Plaintiff, KAYLA HORTON, hereby demands a jury trial for each cause of action for

                                                                   3 which they are entitled a jury trial.

                                                                   4

                                                                   5 DATED: November 1, 2024                 BALABAN & SPIELBERGER, LLP

                                                                   6
                                                                                                             By:
                                                                   7
                                                                                                                   Daniel K. Balaban
                                                                   8                                               Andrew J. Spielberger
                                                                                                                   Kahren Harutyunyan
                                                                   9                                               Attorneys for Plaintiff, KAYLA DAVIS HORTON

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